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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE @SJUNZ
WESTERN DIVISION

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GAILE K. OWENS,
Petitioner,
v. No. 2:00-2765-Br

EARLINE GUIDA, WARDEN,
Tennessee Prison For Women,

Respondent.

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ORDER GRANTING IN PART RESPONDENT’S FIRST MDTION FOR PARTIAL
SUMMARY JUDGMENT

 

The Petitioner, Gaile K. Owens, an inmate at the Tennessee
Prison For Women in Nashville, Tennessee, filed an application for
a writ of habeas corpus, pursuant to 28 U.S.C. § 2254, challenging
the jury's imposition of a sentence of death for the crime of
accessory before the fact to first degree murder.l The Respondent,
Earline Guida, warden at the prison, filed a motion for summary
judgment asserting that Petitioner's claims are procedurally

defaulted and/or are without merit. The Court will address each of

 

1 Petitioner does not dispute her conviction for the offense of

accessory before the fact to first degree murder. In the instant petition for
writ of habeas corpus relief, she only challenges the sentence of death imposed
for the offense.

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Petitioner's claims individually?
I. FACTUAL BACKGROUND

In 1986, Petitioner was tried in a Tennessee state court for
the murder of her husband, Ronald Owens.3 The jury convicted her
of accessory before the fact to first degree murder for which she
received a sentence of death. State v. Porterfield, 746 S.W.Zd
441, 443-444 (Tenn. 1988).

The evidence at trial established that prior to Mr. Owens'
murder, over the course of several months, Petitioner solicited
several men, including Sidney Porterfield and George James, to kill
her husband. ld¢ at 444. Porterfield was eventually hired by
Owens to kill her husband. She met with Porterfield on at least
three occasions, the last being at 2:30 pm on Sunday, February 17,
1985. ld; At that meeting, Petitioner told Porterfield that her
husband would either be at home alone or at the church playing
basketball on Sunday evening. Porterfield attacked the deceased at
his home, on the evening of February l7, 1985, striking him over
the head more than twenty-one times with a blunt object. ldL

On the same evening as the murder, Mr. and Mrs. Owens and

 

2 The warden's motion for summary judgment as to Claims 19 and 21, l

177, is substantially affected by recent rulings of the United States Court of
Appeals for the Sixth Circuit and the United States Supreme Court in Cone v.
Bell, 359 F.3d 785 (6th Cir. 2004) rev'd __ U.S. __ (2005), 125 S.Ct. 847 (per
curiam), and is addressed in a previous order entered by the Court. §§§ Owens
v. Guida, case no. 00-2765, Order Granting In Part Respondent’s First Motion For
Partial Summary Judgment And Denying Petitioner's Motion For Partial Summary
Judgment, dkt. no. ?7, March 24, 2005 (“Owens Order I”}.

 

3 Petitioner was tried jointly with co-defendant Sidney Porterfield.

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their two sons attended church services. After church, when Mr.
Owens remained to play basketball, the children asked to stay and
play as they usually did. Mrs. Owens refused to let them stay,
however, and took them instead to a restaurant for dinner and then
to the home of her sister, Carolyn Hensley. They remained there
until approximately 10:30 pm at which time they went home. ld;

Upon arriving at the home around ll:OO pm, the Petitioner and
her children found Mr. Owens' unoccupied car in the driveway with
the door open. The back door to the house was likewise partially
open, and Mr. Owens' keys were in the lock. In the kitchen, there
were signs of a struggle, and blood was splattered on the wall and
floor. The boys and Petitioner discovered Mr. Owens lying in the
den unconscious with blood covering his head. lg;

After the murder, James contacted the police and told them
that the Petitioner had solicited him to kill Mr. Owens. James
then assisted the police by contacting and eventually meeting with
her. In their conversation, Mrs. Owens told James, who was wearing
a hidden tape recorder, that she had her husband killed because of
“bad marital problems.” In order to keep him guiet, the Petitioner
paid James sixty dollars. At the conclusion of the meeting, the
police arrested Mrs. Owens. ld;

Initially, Petitioner told the police that she had only hired
people to rough up her husband. Later, she confessed to offering

three men money to kill him. When asked by the police why she had

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him killedr Petitioner stated, “[W]e’ve just had a bad marriage
over the years, and I just felt like he had, mentally I just felt
like he had been cruel to me. There was very little physical
violence.” ld;

The police also arrested Porterfield, who confirmed that he
had met with the Petitioner and that she had offered to pay him
$17,000 to kill her husband. He admitted getting into an
altercation with the deceased, at which time Porterfield hit Mr.
Owens in the head with a tire iron multiple times. Porterfield
maintained, however, that he was at the home solely to check out
the situation, that the deal with Petitioner was not completed, and
that he struck the victim only to prevent him from turning
Porterfield over to the police. ;QL at 445.

Petitioner did not testify at trial. In her defense, Mrs.
Owens presented the testimony of a neighbor who testified as to
Petitioner's mental state upon finding her husband, and a funeral
home employee who stated that Petitioner owed money for the
deceased’s funeral bill, as she had represented to her father-in-
law in attempting to secure a loan after her husband's death.
Presumably, Mrs. Owens offered this testimony to show that she had
legitimate debts to pay, rather than requiring money to supplement
or replenish the money she had allegedly spent in procuring her
husband's murder. ld#

On January 14, 1986, the jury found Petitioner guilty of

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accessory before the fact to first degree murder and Porterfield
guilty of first degree murder. At the sentencing hearing, Mrs.
Owens called as witnesses Dr. Max West, a psychiatrist who had
examined her on one occasion years earlier, and two jail employees,
one of whom was Elizabeth Bratcher. ld; at 448; Add. 4, vol. 13 at
1902-1911. Despite the mitigation evidence presented. by' Mrs.
Owens, the jury sentenced her to death. In support of the
sentence, the jury found the existence of two of the statutory
aggravating factors: 1) Petitioner committed the murder for
remuneration or the promise of remuneration, or employed another to
commit the murder for remuneration, or the promise of remuneration;
and 2) the murder was especially heinous, atrocious, or cruel in

that it involved torture or depravity of mind. Porterfield, 746

 

S.W.Zd at 448-449; Tenn. Code Ann. § 39-2~203{1)(4 & 5)(1982).

II. PRDCEDURAL BACKGROUND

 

Petitioner appealed her conviction and sentence asserting
various grounds for relief.4 The Tennessee Supreme Court affirmed
Owens' conviction and sentence in State v. Porterfield, 746 S.W.Zd

441 (Tenn. 1988), and the United States Supreme Court denied her

 

4 On direct appeal, Owens asserted error based on 1) the trial

court's refusal to sever Petitioner's case from Porterfield’s, 2) the trial
court's ruling that Petitioner could not present evidence of her willingness to
plead guilty in return for a life sentence, 3) the trial court's rulings during
voir dire, 4) the trial court's admission of certain evidence, including the
introduction at the sentencing hearing of two photographs of the victimr 5) the
State's failure to give the required notice of the aggravating circumstances it
intended to rely upon during the sentencing phase, 6) arguments made by the State
to the jury, 7) the guilt and sentencing instructions given to the jury; and 8)
the constitutionality of the sentencing provisions of the Tennessee Death Penalty
Act, Tenn. Code Ann. § 39-2-203.

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subsequent petition for writ of certiorari. See Porterfield v.

Tennessee, 486 U.S. 1017 (1988).

 

On February 28, 1991, Owens filed a petition for post-
conviction relief which was denied and included an ex parte request
for expert services. On interlocutory appeal to the Tennessee
Supreme Court, Petitioner was granted the funds for expert
services. See Owens v. State, 908 S.W.2d 923 (Tenn. 1995). She
then filed an amended post-conviction petition on August 15, 1996,
which was also denied. The Tennessee Court of Criminal Appeals
affirmed the denial, see Owens v. State, 13 S.W.3d 742 (Tenn.
Crim. App. 1999),.5 and the Tennessee Supreme Court refused to
consider Petitioner's application for appeal. On August 23, 2000,

Owens filed the instant petition for writ of habeas corpus.

III. LEGAL STANDARDS APPLICABLE TO HABEAS PETITIONS
_______l_________________________”___l___i___l________

A. Waiver and Procedural Default
Twenty-eight U.S.C. § 2254(b) states, in pertinent part:

(1) An application for a writ of habeas corpus on
behalf of a person in custody pursuant to the
judgment of a State court shall not be granted
unless it appears that-

 

5 Among the issues raised in the Tennessee Court of Criminal Appeals

were whether 1) Petitioner received ineffective assistance of counsel at trial;
2) the post-conviction judge should have recused himself; 3) Petitioner's
constitutional rights were violated during the guilt and sentencing phases by the
prosecution's failure to provide the defense with exculpatory evidence; 4) the
heinous, atrocious, and cruel aggravator was appropriately applied vicariously
to Petitioner and whether the trial court should have instructed the jury that
Petitioner had to intend to inflict the heinous, atrocious, and cruel act; 5) the
murder for remuneration aggravator sufficiently narrowed the class of death
eligible offenders; 6) the reasonable doubt jury instructions given at both
stages of the trial were constitutional; and 7) the Tennessee death penalty
statute is constitutional.

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(A) the applicant has exhausted the remedies
available in the courts of the State; or

(B) (i) there is an absence of available State
corrective process: or

(ii) circumstances exist that render such
process ineffective to protect the rights
of the applicant.
(2) An application for a writ of habeas corpus may be
denied on the merits, notwithstanding the failure
of the applicant to exhaust the remedies available
in the courts of the State.
Thus, a habeas petitioner must first exhaust available state
remedies before requesting relief under § 2254. §e§ eyg;,
Granberrv v. Greer, 481 U.S. 129, 133-34 (1987); Rose v. Lundy, 455
U.S. 509, 519 (1982); Rule 4, Rules Governing Section 2254 Cases in
the United States District Courts. A petitioner has failed to
exhaust her available state remedies if she has the opportunity to
raise her claim by any available state procedure. 28 U.S.C. §
2254(c); Preiser v. Rodriouez, 411 U.S. 475, 477, 489-90 (1973).
To exhaust her state remedies, the petitioner must have
presented the very issue on which she seeks relief from the federal
courts to the courts of the state that she claims is wrongfully
confining her. Picard v. Connor, 404 U.S. 270, 275-76 (1971); Bu§;
v. Zent, 17 F.3d 155, 160 (6th Cir. 1994). “[A] claim for relief
in habeas corpus must include reference to a specific federal
constitutional guarantee, as well as a statement of the facts which

entitle the petitioner to relief.” Grav v. Netherland, 518 U.S.

152, 162-63 (1996). “‘[T]he substance of a federal habeas corpus

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claim must first be presented to the state courts.’” ld; at 163
(quoting Picard, 404 U.S. at 278). A habeas petitioner does not
satisfy the exhaustion requirement of 28 U.S.C. § 2254(b) “by
presenting the state courts only with the facts necessary to state
a claim for relief." ld;

In addition, “[i]t is not enough to make a general appeal to
a constitutional guarantee as broad as due process to present the
‘substance' of such a claim to a state court.” lg;_ A state
defendant may be deemed to have “fairly presented” a claim to the
state courts if she (1) relied upon federal cases employing
constitutional analysis; (2) relied upon state cases employing
federal constitutional analysis; (3) phrased the claim in terms of
constitutional law or in terms sufficiently particular to allege a
denial of a specific constitutional right; or (4) alleged facts
well within the mainstream of constitutional law. Franklin v.
BQ§Q, 811 F.2d 322, 326 (6th Cir. 1987). When a petitioner raises
different factual issues under the same legal theory, she is
required to present each factual claim to the highest state court
in order to exhaust her state remedies. O'Sullivan v. Boerckel,
526 U.S. 838, 845 (1999); see also Pillette v. Foltz, 824 F.2d 494,
496 (6th Cir. 1987). A petitioner has not exhausted her state
remedies if she has merely presented a particular legal theory to
the courts without presenting each factual claim. Pillette, 824

F.2d at 497-98. Each claim must be presented to the state courts

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as a matter of federal law. “It is not enough that all the facts
necessary to support the federal clainz were before the state
courts, or that aa somewhat similar state-law clain1 was made.”
Anderson v. Harless, 459 U.S. 4, 6 (1982); see also Duncan v.
§§Q;y, 513 U.S. 364, 366 (1995) (per curiam) (“If a habeas
petitioner wishes to claim that an evidentiary ruling at a state
court trial denied him the due process of law guaranteed by the
Fourteenth Amendment, he must say so, not only in federal court,
but in state court.”).

Moreover, the state court decision must rest primarily on
federal law. Coleman v. Thompson, 501 U.S. 722, 734-35 (1991). If
the state court decides a claim on an independent and adequate
state ground, such as a procedural rule prohibiting the state court
from reaching the merits of the constitutional claim, a petitioner
ordinarily is barred by this procedural default from seeking
federal habeas review. Wainwriqht v. Svkes, 433 U.S. 72, 87-88
(1977). “Procedural default does not bar consideration[,]
{however,l of a federal claim on either direct or habeas review
unless the last state court rendering a judgment in the case

‘clearly and expressly’ states that its judgment rests on a state

procedural bar.” Harris v. Reed, 489 U.S. 255, 263 (1989)
(citations and internal quotations omitted). Furthermore, the

state-court decision need not explicitly' address the federal

claims; instead, it is enough that the petitioner’s brief squarely

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presents the issue. Smith v. Digmon, 434 U.S. 332 (1978) (per
curiam).

When a petitioner's claims have never been actually presented
to the state courts but a state procedural rule prohibits the state
court from extending further consideration to them, the claims are
deemed exhausted, but procedurally barred. Coleman, 501 U.S. at

752-53; Teague v. Lane, 489 U.S. 288, 297-99 (1989); Wainwright,
433 U.S. at 87-88; Rust, 17 F.3d at 160.

 

A petitioner confronted with either variety of procedural
default must show cause for the default and prejudice to obtain
federal court review of his claim. Teague, 489 U.S. at 297-99;
Wainwright, 433 U.S. at 87-88. Cause for a procedural default
depends on some “objective factor external to the defense” that
interfered with the petitioner's efforts to comply with the
procedural rule. Coleman, 501 U.S. at 752-53; Murrav v. Carrier,
477 U.S. 478, 488 (1986}.

An ineffective assistance of counsel claim may establish cause
for the procedural default. Edwards v. Carpenter, 529 U.S. 446,
453 (2000). The ineffective assistance of counsel claim relied
upon to establish cause, however, must not have been procedurally
defaulted. ld; If the ineffective assistance of counsel claim was
procedurally defaulted, the default may also be excused if the
defendant can establish cause and prejudice as to that claim. ida

A petitioner may avoid the procedural bar, and the necessity

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of showing cause and prejudice, by demonstrating “that failure to
consider the claims will result in a fundamental miscarriage of
justice.” Coleman, 501 U.S. at 750. The petitioner must show that
“‘a constitutional violation has probably resulted in the
conviction of one who is actually innocent.’” Schlup v. Delo, 513
U.S. 298, 327 (1995) (quoting Murray, 477 U.S. at 496). “To
establish the requisite probability, the petitioner must show that
it is more likely than not that no reasonable juror would have
convicted [her] in the light of the new evidence.” ld;
Tennessee's post-conviction statute, the Post-Conviction
Procedure Act, Tenn. Code Ann. §§ 40-30-101 to -122, specifies
types of procedural default that may bar a state court from
reviewing the merits of a constitutional claint A one-year statute
of limitations governs the filing of petitions under that statute.
ld; at § 40-30-102. The Sixth Circuit has upheld the dismissal of
a Tennessee prisoner’s habeas petition as barred by a procedural
default caused by failing to file within the Tennessee statute of
limitations on post-conviction relief. Hannah v. Conley, 49 F.3d
1193, 1194-95 (6th Cir. 1995) (construing Tenn. Code Ann. § 40-30-
102 and finding that the language of the statute is “mandatory”).
B. Legal Standard for Merits Review
The standard for reviewing constitutional claims on their
merits in a suit for habeas relief is set forth in 28 U.S.C. §

2254(d). The section provides:

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An application for a writ of habeas corpus on behalf of

a person in custody pursuant to the judgment of a State

court shall not be granted with respect to any claim that

was adjudicated on the merits in State court proceedings

unless the adjudication of the claim-

{1) resulted in a decision that was contrary to, or
involved an unreasonable application of, clearly
established Federal law, as determined by the
Supreme Court of the United States; or

(2) resulted in a decision that was based on an
unreasonable determination of the facts in light of
the evidence presented in the State court
proceeding.

This Court must determine, therefore,r whether the state court
adjudications of those claims presented were either “contrary to”
or an “unreasonable application of” “clearly established” federal
law as determined by the United States Supreme Court. This Court
must also determine whether the state court decisions were based on

an unreasonable determination of the facts in light of the evidence

presented in the state proceeding.

1. § 2254(d)§1)

The Supreme Court has issued a series of decisions setting
forth the standards for applying § 2254(d)(1). In (Terry) Williams
v. Taylor, 529 U.S. 362, 404 (2000), the Court emphasized that the
“contrary to” and “unreasonable application of” clauses should be
accorded independent meaning. A state-court decision may be found
to violate the “contrary to” clause under two circumstances:

[l] A state-court decision will certainly be contrary to

our clearly established precedent if the state court

applies a rule that contradicts the governing law set
forth in our cases. . . . {and] [2] A state-court

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decision will also be contrary to this Court's clearly
established precedent if the state court confronts a set
of facts that are materially indistinguishable from a
decision of this Court and nevertheless arrives at a
result different from our precedent. Accordingly, in
either of these two scenarios, a federal court will be
unconstrained by § 2254(d)(1) because the state-court
decision falls within that provision's “contrary to”
clause.

Id. at 405-06 (citations omitted); see also Price v. Vincent, 538

 

U.S. 634, 640 (2003); Lockver v. Andrade, 538 U.S. 63, 71-72
(2003); and Bell v. Cone, 535 U.S. 685, 694 (2002).6 The Supreme
Court has emphasized the narrow scope of the “contrary to” clause,
explaining that “a run-of-the-mill state-court decision applying
the correct legal rule from our cases to the facts of a prisoner’s
case would not fit comfortably within § 2254(d)(1)’s ‘contrary to'
clause.” Williams, 529 U.S. at 406; see also idL at 407 (“If a
federal habeas court can, under the ‘contrary to' clause, issue the
writ whenever it concludes that the state court's application of
clearly established federal law was incorrect, the ‘unreasonable
application' test becomes a nullity.”)(emphasis in original).

A federal court may grant the writ under the “unreasonable
application” clause “if the state court correctly identifies the
governing legal principle from [the Supreme Court's] decisions but

unreasonably applies it to the facts of the particular case.”

 

6 The Supreme Court has emphasized that this standard “does not require

citation of our cases-indeed, it does not even require awareness of our cases,
so long as neither the reasoning nor the result of the state-court decision
contradicts them.” Early v. Packer, 537 U.S. 3, 8 (2002) (per curiam) (emphasis
in original).

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Cone, 535 U.S. at 694; see also Andrade, 538 U.S. at 75; Williams,

 

529 U.S. at 409.7 “[A]n unreasonable application of federal law is
different from an incorrect application of federal law.” Williams,
529 U.S. at 410.8 “[A] federal habeas court making the
‘unreasonable application’ inquiry should ask whether the state
court's application of clearly established federal law was
objectively unreasonable.” ldL at 409.

Finally, § 2254(d)(1) refers to “clearly established” federal
law, “as determined by the Supreme Court of the United States.”
This provision “expressly limits the source of law to cases decided

by the United States Supreme Court.” Harris v. Stovall, 212 F.3d

 

7 Although the Supreme Court in Williams recognized, in dicta, the

possibility that a state-court decision could be found to violate the
“unreasonable application” clause when “the state court either unreasonably
extends a legal principle from our precedent to a new context where it should not
apply or unreasonably refuses to extend that principle to a new context where it
should apply,” 529 U.S. at 407, the Court expressed a concern that “the
classification does have some problems of precision,” ig$ at 408. The Williams
Court concluded that it was not necessary “to decide how such ‘extension of legal
principle' cases should be treated under § 2254(d)(1)," ig; at 408-09, and, to
date, the Supreme Court has not had occasion to revisit the issue. §eg Williams
v. Coyle, 260 F.3d 684, 699-700 (6th Cir. 2001).

8 See also Andrade, 538 U.S. at 75 (1ower court erred by equating
“objectively unreasonable” with “clear error”; “These two standards, however, are
not the same. The gloss of clear error fails to give proper deference to state
courts by conflating error (even clear error} with unreasonableness.”); Woodford
v. Visciotti, 537 U.S. 19, 25 (2002) (per curiam} (holding that the lower court
“did not observe this distinction Lbetween an incorrect and an unreasonable
application of federal law], but ultimately substituted its own judgment for that
of the state court, in contravention of 28 U.S.C. § 2254(d).”); Cone, 535 U.S.
at 698-99 (“For [a habeas petitioner] to succeed . . . , he must do more than
show that he would have satisfied Strickland's test if his claim were being
analyzed in the first instance, because under § 2254(d)(1), it is not enough to
convince a federal habeas court that, in its independent judgmentr the state-
court decision applied Strickland incorrectly.”); Williams, 529 U.S. at 411
{“Under § 2254(d)(1)'s ‘unreasonable application‘ clause, then, a federal habeas
court may not issue the writ simply because that court concludes in its
independent judgment that the relevant state-court decision applied clearly
established federal law erroneously or incorrectly. Rather, that application
must also be unreasonable.").

 

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940, 944 (6th Cir. 2000). As the Sixth Circuit explained:

This provision marks a significant change from the

previous language by referring only to law determined by

the Supreme Court. A district court or court of appeals

no longer can look to lower federal court decisions in

deciding whether the state decision is contrary to, or an

unreasonable application of, clearly established federal

law.
Herbert v. Billy, 160 F.3d 1131, 1135 (6th Cir. 1999) (citing 17A
C. Wright, A. Miller & E. Cooper, Federal Practice and Procedure §
4261.1 (2d ed. Supp. 1998)); see also Harris, 212 F.3d at 944 (“It
was error for the district court to rely on authority other than
that of the Supreme Court of the United States in its analysis
under § 2254(d}.”). In determining whether a rule is “clearly
established,” a habeas court is entitled to rely on “the holdings,
as opposed to the dicta, of [the Supreme] Court’s decisions as of

the time of the relevant state-court decision.” Williams, 529 U.S.
at 412.
2- §._M(d)_(£)_

There is scant case law about the standards for applying §
2254(d)(2), which permits federal courts to grant writs of habeas
corpus where the state court's adjudication of a petitioner's claim
“resulted in a decision that was based on an unreasonable
determination of the facts in light of the evidence presented in
the State court proceeding.” 28 U.S.C. § 2254(d){2). The few
decisions interpreting this provision have attempted to incorporate

the standards applicable to the “unreasonable application” prong of

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§ 2254(d)(1). Thus, the Sixth Circuit stated, in an unpublished
decision, that

a federal habeas court may not grant habeas relief under

§ 2254(d)(2) simply because the court disagrees with a

state trial court's factual determination. Such relief

may only be granted if the state court's factual

determination was “objectively unreasonable" in light of

the evidence presented in the state court proceedings.

Moreover . .. , the state court's factual determinations

are entitled to a presumption of correctness, which is

rebuttable only by clear and convincing evidence.
Younq v. Hofbauer, 52 Fed. Appx. 234, 236 (6th Cir. Dec. 2, 2002)
(citing 28 U.S.C. § 2254(e)(l)); see also Sumner v. Mata, 449 U.S.
539, 546-47 (1981) (applying presumption of correctness to factual
determinations of state appellate courts); Stanley v. Lazaroff, 82
Fed. Appx. 407, 416 (6th Cir. Oct. 3, 2003); Jackson v. Holland, 80
Fed. Appx. 392, 400 (6th Cir. Aug. 21, 2003} rev’d. __ U.S. __, 124
S.Ct. 2736 (2004)(“Though the Supreme Court has not yet interpreted
the ‘unreasonable determination' clause of § 2254(d}(2), based upon
the reasoning in Williams, it appears that a court may grant the
writ if the state court's decision is based on an objectively
unreasonable determination of the facts in light of the evidence
presented during the state court proceeding.”) (citing Torres v.

Prunty, 223 F.3d 1103, 1107-08 (9th Cir. 2000)).

IV . ANALYSIS
A. Procedural Default Of Petitioner's Claims

Respondent asserts that many of Petitioner's claims are

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procedurally defaulted.9 In response, Petitioner has offered
various arguments to explain why these claims are not procedurally
defaulted. Two of Owens' arguments in favor of excusing and/or not
finding procedural default are general in nature and are used by
her in response to many of Respondent’s claims of procedural
default. These arguments are that 1) the Tennessee Supreme Court
stated that it considered “the entire record . . . [and determined]
that no reversible error was committed in either the guilt or
sentencing phase of the trial”, and 2) the Tennessee Supreme Court
reviewed the entire record for fundamental error pursuant to Tenn.
R. App. P. 52. §ee Petitioner's Response to Respondent's Motion
for Summary Judgment at 85-89. Because Petitioner used these
arguments to overcome Respondent’s assertion of procedural default
of many of Petitioner's habeas claims, the Court will address these
contentions generally.

Petitioner insists that her claims were exhausted because the
Tennessee Supreme Court “implicitly reviewed” issues in addition to
those raised by Porterfield and Owens on direct appeal based on the

court's statement that “{a]fter consideration of the several issues

 

9 Among the claims that Respondent asserts are procedurally defaulted

are: Claim 1 - 1 35 (a)-{b), 1 36, 1 37 (a), 1 38, 1 39 (a)-(w), (y), (z), (aa),
(ff)'(gq), {ii), {kk), (ll)'(OO)r (SS)_{WW), 11 43-48; Claim 3 - 1171-74, 765
Claim 4 - 11 77-83; Claim 5 - 11 84-89; Claim 6 - 11 90-95; Claim 7 - 11 96-106;
Claim 8 - 11 107-09; Claim 9 - 11 110-11; Claim 10 - 1 112; Claim 11 - 1 113;
Claim 12 - 11 114-24; Claim 13 - 11 125-27; Claim 14 - 11 129-30; Claim 15 - 11
138-44, 146-47; Claim 16 - 11 148-53; Claim 17 - 11 154-57; Claim 18 - 11 162-65;
Claim 19 - 11 166, 169; Claim 20 - 11 172-76; Claim 21 - 11 177-79; Claim 22 -
11 180-81; Claim 23 - 11 183-84; Claim 24 - 11 185-201; Claim 25 - 11 202-204;
and Claim 26 - 1 205.

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and of the entire record, we are of the opinion that no reversible
error was committed in either the guilt or sentencing phase of the
trial . . . .” Porterfield, 746 S.W.2d at 444. Furthermore,
Petitioner maintains that this Court may review claims, which were
not specifically raised in the state courts, because the Tennessee
Supreme Court “implicitly” considered the merits of these claims in
the course of performing its required fundamental error review
pursuant to Tenn. R. App. P. 52.

ln Coe v. Bell, 161 F.3d 320 (6th Cir. 1998), the Sixth
Circuit expressed reservations with “implicit review" arguments

such as those offered by Petitioner. See Coe, 161 F.3d at 336.

 

The gee court considered the “implicit review" argument in the
context of a challenge to jury instructions on unanimity in
sentencing in a death penalty case in a Tennessee court. ld* at
336. The appellate court stated that the argument that “the
lTennessee] supreme court has to review significant errors, whether
or not they were raised by the defendant,” is “too broad, as it
would eliminate the entire doctrine of procedural bar in Tennessee
in capital cases.” ldy_ _ge recognized, however, that Tennessee
courts had been somewhat receptive to the implicit review theory.

See Cone, 359 F.3d 785. Based on State v. Martin, 702 S.W.Zd 560

 

(Tenn. 1985), overruled pp other grounds by State v. Brown, 836
S.W.2d 530 (Tenn. 1992), in which the Tennessee Supreme Court

stated that it was “required by statute to review the sentence and

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to consider significant errors whether or not called to the
attention of the trial court[,]” the gee court explained that a
procedural default could not arise under Tennessee law when a
capital defendant raised an issue on appeal which he had failed to
preserve properly during trial. gge, 161 F.3d at 336. Thus, §ge
adopted the implicit review theory, but only to the extent that
the issues were explicitly raised on appealr even though not

properly preserved in the trial court. See Cone, 359 F.3d at 791.

 

The Sixth Circuit in ane considered whether the petitioner
had procedurally defaulted his claim that the application of
Tennessee's heinous, atrocious, and cruel (“HAC") aggravator in a
capital case resulted in the arbitrary imposition of the death
penalty in violation of the Eighth Amendment, by failing to raise
the issue on direct appeal. ld; The court determined that the
petitioner did not procedurally default the claim by failing to
raise it on direct appeal because the Tennessee Supreme Court
implicitly reviewed the HAC aggravator issue in the course of its
mandatory review. ld; This determination by the Sixth Circuit
was based on Tenn. Code Ann. § 39-2-205(c) which requires the
Tennessee Supreme Court in death penalty cases to conduct a
mandatory death penalty review to determine whether:

(1) The sentence of death was imposed in any
arbitrary fashion;

(2) The evidence supports the jury's findings

of a statutory aggravating circumstance or
statutory aggravating circumstances;

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{3) The evidence supports the jury's finding
of the absence of any mitigating circumstances
sufficiently substantial to outweigh the
aggravating circumstance or circumstances so
found; and

{4) The sentence of death is excessive or
disproportionate to the penalty imposed in

similar cases, considering both the nature of
the crime and the defendant.

Id. (quoting Tenn. Code Ann. § 39-2-205(c) (1982) (current version
at Tenn. Code. Ann. § 39-13-206(c)(1) (2003)). The Cone Court
concluded that the law in Tennessee is such that “the supreme court
‘implicitly' reviews death sentences for arbitrariness, even if the
issue is not explicitly raised on direct appeal. . . J' In so
ruling, however, the court noted that

the implicit review doctrine . . . does not

foreclose the possibility that other death

penalty defendants may procedurally default on

other constitutional issues not raised on

direct appeal. The language of Tennessee’s

mandatory review statute provides a basis to

distinguish between vagueness challenges and

other constitutional claims, since it requires

the Tennessee Supreme Court to look

specifically for sentences “imposed in any

arbitrary fashion.”
Id. Therefore, the court limited its holding concerning implicit
review by the Tennessee Supreme Court to claims that minimize the
risk of wholly arbitrary and capricious action. Id. (stating
that “[b]ecause there are other constitutional violations that do
not pose this same risk, the implicit review principle we have

applied today would not necessarily save those claims from

procedural default.”).

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This Court concludes, based on Coe and Cone, that Petitioner's

 

arguments that her claims are not procedurally barred based on l)
the Tennessee Supreme Court’s statement that “[a]fter consideration
of the several issues and of the entire record, we are of the
opinion that no reversible error was committed in either the guilt
or sentencing phase of the trial . . . , ” and 2) the Tennessee
Supreme Court’s implicit consideration of the merits of these
claims in the course of performing its required fundamental error
review pursuant to Tenn. R. App. P. 52, are not meritorious except
with respect to Claim 19, 11 166-69, and Claim 20, 1 177. Claim
19, 11 166-69, and Claim 20, 1 177, challenge respectively whether
the Murder For Remuneration (“MFR”) aggravator and the HAC
aggravator as applied to Petitioner were appropriate narrowing
instructions, i.e., whether her sentence of death was arbitrary
based on the application of the MFR and HAC aggravators. The
remainder of the claims that Petitioner asserts were not
procedurally defaulted based on the Tennessee Supreme Court’s
implicit review are alleged constitutional violations that do not
pose the risk of arbitrary and capricious action, and as such, are

not saved from procedural default based on Cone and Coe. These

 

claims include Claims 3, 5-11, 13-18, and 21-23. The Court finds
therefore that Petitioner has not procedurally defaulted Claim 19,
11 166-69, and Claim 20, 1 177. The Court will address

Respondent's remaining assertions of procedural default in the

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analysis of her individual claims.

B. Claim 1 - Ineffective Assistance Of Counsel.

Petitioner asserts that she received ineffective assistance of
counsel during the sentencing stage of her trial. She maintains
that her trial counsel failed to l) investigate mitigating
evidence, 2) obtain expert services, and 3) overcome the State's
hearsay objections at the sentencing hearing. The Court will
address individually each of Petitioner's claims.

l. Testimony Offered At Post-Conviction Hearing

Attorneys James Marty and Brett Stein represented Ms. Owens at
trial.10 Marty was appointed as counsel for Ms. Owens in May 1985,
and the 'trial began iii January 1986. _ee Addendunl 13 at 20.
Marty's testimony at the post-conviction hearing indicated that he
recalled very little of the work he did in the case. ;d* at 17-
lll. He testified that he began practicing law in 1971, and at the
time of Petitioner's trial in 1986, his practice was ninety-percent
criminal. ldL Marty had served previously as lead counsel in
three or four capital trials. ld;

Marty testified that he and Mr. Stein had interviewed numerous
witnessesr however, he was unable to recall their names or the
subject matter of their conversations. 1§; at 37. He further
stated that his records likely did not include all of the witnesses

he interviewed. ld. Marty seemed to remember, however, that Ms.

 

10 Mr. Stein replaced Wayne E`.mmons after he withdrew in December 1985.

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Owens instructed him that she did not want him to interview her
children nor were they to be involved with the trial. ld; at 44-
45. He stated that he did not always write everything down on
appointed cases, just what he remembered at the time. He testified
that the time sheets were always “way short of the time” he
actually spent working on the cases. Counsel did not request any
schoolr employment, or military records of the victim because he
believed they were irrelevant to the case.

Marty stated that he interviewed Dr. Max West, a psychiatrist
who examined Ms. Owens once in 1978 after she was charged with
embezzlement. lgL_ at 55-58. Dr. West testified during the
sentencing phase in mitigation of the offense. 1§; at 97. Marty
indicated that the defense attorneys petitioned the trial court for
funds for private mental health evaluationsr but the trial court
denied the request. lgL_ at 59-67. The court, however, did
authorize Midtown Mental Health Center (“MMHC”), a state funded
facility, to evaluate Owens. 1§4 at 63-64. MMHC attempted to
perform a mental evaluation of Owens on three separate occasions,
however, she refused to speak with them about anything other than
her family history until she spoke with counsel. 1§; at 71-75.
Marty further testified that he and Stein did not advise his client
not to talk to MMHC “because [they] needed the mental evaluation .

.” ld;

Marty stated that at trial the defense theory was that Owens

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had withdrawn the solicitations to kill her husband and that
Porterfield murdered the victim in a burglary attempt. ld; at 107.
Counsel indicated that he believed Owens' testimony was critical to
her defense, however, despite the attorneys’ efforts on several
occasions to persuade her to testify, the Petitioner refused. ld;
at 102-04. He opined that her testimony was crucial to support her
innocence and to establish her mental state for mitigation. ld; at
102-09. At the trial, Marty proposed that no sane white lady would
venture into an unfamiliar, all black neighborhood and openly
solicit men on the street to kill her husband. ld4 at 108.

At the post-conviction hearing, Brett Stein testified that he
had practiced law since 1963, primarily handling criminal cases.
lg; at 126. He was appointed to Owens' case approximately thirty
days before her trial commenced. ldé at 127. Stein indicated that
Marty served as lead counsel and made the strategy decisions. ldy
at 130. The case was his first bifurcated capital trial. ld; at
156. Like Marty, Stein also was unable to remember much of his
participation in the case given the time lapse from the trial to
the post-conviction hearing. ldé at 126-74. He testified that he
did not obtain Owens' medical, educational, or employment history.
ldy at 140.

Wayne Emmons testified that he represented Ms. Owens from May
1985 until he withdrew in December 1985 because of commitments in

other cases. Id. at 184. He testified that before withdrawing

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from the case he filed a motion seeking the private services of
mental health experts. ld; at 192. He indicated that he likely
did not specify the reasons for the motion or any specifics such as
cost of the expert because the motion was not filed ex parte. ld;
at 195-97.

At the post-conviction hearing, Petitioner elicited the
testimony of Eric Gentry, a traumatologist. §§e Addendum 13 at
217-01, 350-37. She offered Gentry’s testimony, which related
primarily to the social history he compiled of Petitioner and his
clinical determinations derived therefrom (referred to as a
psychosocial assessment), to establish what additional mitigation
evidence the defense counsel could have presented during the

penalty phase of the trial.11 Among the testimony solicited from

 

ll The criminal court of appeals noted that the post-conviction court

made the following observations in its written finding of facts concerning
Gentry, see Owens, 13 S.W.3d at 752:

Although [Gentry] was unlicensed in any discipline, he
held a Masters in Counseling, and at one time had been
licensed in West Virginia in Social Work. He had many
“certifications,” many of which were irrelevant to the
psychological assessment of the petitioner, such as Art
Therapy, Biofeedback, Eye Movement Desensitization,
etc., and many of which were the result of weekend
training seminars. He was tendered to the Court as an
expert in Traumatology, which he explained as a study of
traumatic experiences, the effects of traumatic
experiences, and what effects they have on a person
who's experienced them both from a point of view of a
clinical point of view and from a disaster point of view

He had not published, but had an article accepted for
publication on “compassion fatigue," a study of
emergency workers and their problems. He also had
another work accepted as a chapter in a book on how to
work with trauma survivors, which had not yet been
published. His practical experience consisted of
working one year in an adolescent shelter, 1 [and] %

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Gentry was his findings concerning statements made to him. or
investigators by Petitioner and several of her family members,
friends, and acquaintances. Gentry testified that Owens grew up in
a poor, filthy household. ldé at 300. He stated that Owens spent
a considerable amount of time during her childhood with her aunt
and uncle, Annie and Vardeman Nichols, whose home she allegedly
preferred to her own. ld; at 300-01. Gentry related that Owens
told him that her father would sometimes binge drink and beat his
wife and children and that her mother also beat her. ld; at 300-
02, 307-10. Gentry also testified that Owens indicated that she
was sexually abused by her uncle, Marshall Kirksey, as a child.
ld; at 305.

With respect to her relationship with her husband, Owens told

Gentry that she was frequently sodomized by her husband and was

 

years as a counselor for a community agency, one year as
a sex abuse counselor, one year working with homeless
children, one year as an addiction counselor at a
“wilderness school,” and four years working for a
psychiatrist as a therapist, gradually concentrating on
survivors of trauma. He had no training or experience
in forensic psychology. At the time of his testimony,
he was a student at Florida State University studying
marriage and family therapy and psychotraumatology. He
claimed no expertise in anything other than his special
area, and testified that “I consider myself an expert in
working with survivors of trauma. That’s the only
thing--claiming any expertise in here as l sit in this
chair right now.” He stated he had never before
testified as an expert, and would never testify as one
again, after this hearing, because it was too hard.

When the witness was tendered as an expert in the
field of Traumatologyr this Court had serious
reservations about his expertise, and asked the witness
what he had been doing immediately before beginning his
present studies at Florida State. Mr. Gentry answered
that he had spent those last seven months prior to his
current studies hiking the Appalachian Trail.

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forced to have sex the night before the birth of her second child,
resulting in a partial-abruptio placenta and emergency cesarian
section. ld; at 355-56. Owens also told Gentry that when she
became pregnant with their first child, Mr. Owens was angry with
her because she did not take her birth control pills and he did not
think they could afford to have a child. ldy at 368. Owens was
charged twice with embezzlement, once after the birth of her oldest
child and again after the birth of her second child. ld; at 369-
70. Gentry opined that Owens likely embezzled to alleviate the
financial strain on the marriage. ldL He also concluded that
Owens has “very poor problem-solving and conflict resolution
skills” and “often will acquiesce to the needs and demands of
others in order to avoid social conflict.” Addendum 13, Exhibit R
at 21.

Dr. West also testified at the post-conviction hearing. He
indicated that he examined Owens for an hour in 1978 after she was
charged with embezzlement. §ee Addendum 13 at 327. He determined
that the Petitioner did not exhibit symptoms of a psychotic
process, and there was no history of psychotic disorders in her
family. 1§; at 323. Dr. West opined that Owens suffered from a
personality disorder and some depression resulting from her
developmental experiences at home. ld; He also testified that
Owens told him that she probably needed help, she had a hard time

being truthful with her husband and other people, and she began

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stealing as a child. ldL at 326. She indicated that she and her
husband had problems with sex early in her marriage, but it got
better after the birth of their first child. ld; After being
contacted by Stein in correspondence dated December 26, 1985, Dr.
West responded via a letter in which he stated that at the time he
evaluated Owens “it [was] extremely difficult, if not impossible to
make a prediction in regards to possible future changes in the
psychopathology which Ms. Owens has demonstrated.” Addendum 13,
Exhibit H at 12. Dr. West based his opinion on his “perception of
[0wens] experiencing minimal if any guilt and remorse about her
behavior, as she described events in her life during that [1978]
session.” ld;

Dr. West also testified at the post-conviction hearing that
Eric Gentry's impressions as expressed in his psychosocial
assessment were consistent with and were a logical extension of
his own conclusions about Owens from their one hour interview in
1978. §ee Addendum 13 at 318-48. Dr. West stated that “many
factors would suggest [that Owensl was ideally situated to be
sexually abused,” but he indicated that, during their interview,
she stated that “everything was fine with her husband.” ld; at
332-33. Moreover, Owens told Dr. West that the sexual adjustment
in her marriage was satisfactory and that she had no problems with
her pregnancies. lgé

At the close of Petitioner's offer, the State called Carolyn

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Hensley, Owens' sister. ldy at 438-78. She had testified for the
State at Owens' trial. ld; at 439. Hensley retained custody of
Owens' sons after her arrest. idé At the hearing, she testified
that Owens had told her trial attorneys not to contact any of her
family for trial purposes. ldé at 440. Hensley also indicated
that had Owens called her to testify at the trial for mitigation
purposes, she would not have done so. ld; at 442. Hensley opined
that “1 think 1 would have hurt her if they'd have asked me much
more . . . in my mind 1 felt like that [sic] it was a matter of
taking a life. And I pretty much felt that whatever the jury
decided and the judge that that was how it was going to be.” ld;
at 442, 446. According to Hensley, her parents were very distraught
over the murder and would not have testified on Owens' behalf
either. ldL at 445. Hensley stated that no one in her family
wanted to testify in favor of Owens, saying “no one wanted to
change the sentence if that's what you're asking me.” 1§;
Hensley related that Gentry interviewed her before the
post-conviction proceeding, and she had reviewed his report. ld;
at 447. She testified that she did not agree with some of the
facts found in Gentry's report. lg; at 450-66. For example, she
noted that Owens never had meningitis and was never sexually abused
by her uncle. ldi at 458-59. Hensley admitted, however, that her
father was physically abusive to his children. 1§; at 455.

Hensley also indicated that she frequently had social contact

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with the deceased and her sister. 1§; at 463. She stated that she
never witnessed Mr. Owens abuse Petitioner nor did she notice
anything unusual about his behavior. ldL Hensley testified that
she talked with her sister daily. ld; at 464. Despite the fact
that Owens confided in Hensley about her personal matters, the
Petitioner never mentioned anything to Hensley about physical or
sexual abuse. ld; Hensley recalled that Owens “spent money like
crazy,” and that her parents mortgaged their home in order to
reimburse some of the money Owens embezzled from her employers.
ld; at 466. Hensley testified that Owens was a chronic liar, and
she lied about matters that were not “even really serious.” ld; at
468.

2. Analysis Of Ineffective Assistance Of
Counsel Claims

The Sixth Amendment to the United States Constitution provides
in pertinent part that “[i}n all criminal prosecutions, the accused
shall enjoy the right . . . to have the Assistance of Counsel for
his defence.” U.S. Const. amend. VI. In Strickland v. Washington,
466 U.S. 668r 684 (1984), the Court stated that “the Sixth
Amendment right to counsel exists,” and is necessary “to protect
the fundamental right to a fair trial.” A fair trial “is one in
which evidence subject to adversarial testing is presented to an
impartial tribunal for resolution of issues defined in advance of
the proceeding.” Strickland, 466 U.S. at 685. The adversarial

system as embodied in the Sixth Amendment includes the right to

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counsel because such skill is needed to provide a defendant the
“‘ample opportunity to meet the case of the prosecution.’” Id.

(quoting Adams v. United States ex rel. McCann, 317 U.S. 269, 275

(1942)). Accordingly, “‘the right to counsel is the right to the
effective assistance of counsel.’” Id. (quoting McMann v.
Richardson, 397 U.S. 759, 771, n.14 (1970)}. In defining what

constitutes the constitutional requirement of effective assistance,
the Strickland court noted that

[i]n giving meaning to the requirement,

however, we must take its purpose to ensure a

fair trial--as the guide. The benchmark for

judging any claim of ineffectiveness must be

whether counsel's conduct so undermined the

proper functioning of the adversarial process

that the trial cannot be relied on as having

produced a just result.
ld. at 686. Furthermore, this principle applies equally to capital
sentencing proceedings. Id. at 686-87.

The Strickland court established a two-part test for
evaluating ineffective assistance of counsel claims. First, the
defendant must demonstrate that counsel’s performance was deficient
such that counsel's errors were so serious that he was not
functioning as constitutionally guaranteed. ld. at 687. Second,
the defendant must show that counsel’s inadequate assistance
prejudiced the defense. Id. To establish prejudice, the defendant

must show that “counsel’s errors were so serious as to deprive the

defendant of a fair trial, a trial whose result is reliable.” Id.

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Whether attorney performance was sufficient to provide a
defendant with a fair trial is based on whether the assistance was
reasonably effective. 1§; Therefore, to establish cause, the
defendant must demonstrate that counsel’s performance “fell below
an objective standard of reasonableness.” ld; at 688.
Reasonableness is determined by considering all the circumstances.
ldL “The proper measure of attorney performance remains simply
reasonableness under prevailing professional norms.” 1§;

“To show prejudice, a defendant must demonstrate to a
reasonable probability that, but for counsel's errors, the result
would have been different." Smith v. Mitchell, 348 F.3d 177, 199
(6th Cir. 2003) (citing Strickland, 466 U.S. at 694). With respect
to a challenge to a sentence of death, the prejudice determination
is “whether there is a reasonable probability that, absent the
errors, the sentencer--including an appellate court, to the extent
it independently reweighs the evidence--would have concluded that
the balance of aggravating and mitigating circumstances did not
warrant death.” Strickland, 466 U.S. at 695. Courts evaluating an
ineffective assistance claim need not address both prongs if the

defendant fails to establish one. Id. at 697.

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a. Failure To Investigate Mitigating Evidence
Petitioner contends that counsel provided ineffective
assistance by failing to investigate potential mitigation evidence.
As an initial matter, Respondent asserts that this Court may not
consider many of Petitioner's factual allegations when deciding
this claim because those contentions were not presented to the

state courts.12

 

12 Respondent contends that Petitioner may not rely on the following

factual allegations in support of her claim of ineffective assistance of counsel:
1) counsel failed to interview Owens' parents, Jewell Wilson Kirksey, Carolyn
Hensley, Esther Kirksey, Marshall Kirksey, Mary Nichols, Thelma Nichols, Rev.
Jimmy Greer, and her former teachers, including Ruth Levenson (Claim 1, 11 35(a)-
(b)(i)-viii)); 2) counsel failed to interview Gala Scott, Dianne Wood, Buddy
Bradley, Carolyn Nobles, Dr. Joey Hensley, Ruth Levenson, Lucy Walker Shaw,
Elizabeth Farnell (Claim l, 1 37(a)(i)-(viii)); 3) counsel failed to interview
George Sykes, Larry Gant, George James, Michael Powell, and John Jordon (Claim
l, 1 38 (a)-(e); 4) had counsel interviewed the aforementioned people, counsel
would have discovered that a) Owens' father was Jewell Kirksey, b) her mother was
lzora Kirksey, c) Owens has a brother and a sister, d) her brother was born with
cerebral palsy and is mentally retarded, e) her father worked long hours, f) her
mother ran a baby-sitting business out of the family home, resulting in a
disheveled home, g) neither of Owens' parents took care of her and her brother
and sister, h) because her parents neglected their children, Owens had to provide
care to her brother, i) her father was a mean spirited alcoholic, j) her father
beat her mother and the children, k) the beatings often left bruises and welts
on Owens' body, l) Owens' mother beat her on occasion, m} her parents physically
and verbally fought, n) Owens' mother, in an attempt to avoid being beaten,
required Owens to wait up with her at night until her father returned home from
drinking, o} Owens' father threatened her mother with a butcher knife, p) Owens
and her siblings often cried when their parents fought, q) her mother took money
from her father and told him that Owens had taken the money, r) Owens was sent
to live with the Vardaman Nichols family when her sister was born, s) Owens would
stay periods of time with the Nichols family over the years and would cry when
it was time to go home,r t) Owens' uncle sexually abused her throughout her
childhood, and Owens' mother refused to believe it, u) Owens' father made her
strip naked and lie across a bed while he lashed her with a belt, v} upon
graduating from high school, Owens left home and moved into an apartment in order
to get away from her father and mother, w) shortly after moving out, Owens met
Mr. Owens, x) on their honeymoon, Mr. Owens caused Ms. Owens to bleed, accused
her of being frigid, and left the motel room threatening to “find someone else,"
y) Mr. Owens often demanded that his wife perform fellatio, which caused her to
occasionally vomit, z} Mr. Owens forced Owens to submit to anal intercourse, aa)
after the cesarian birth of their youngest son Mr. Owens went on a date with a
woman with whom he was having an affair, bb) Mr. Owens engaged in sexually
inappropriate conduct in public, cc) during their marriage, Owens' body weight
fluctuated, dd) Mr. Owens humiliated his wife by publicly making comments related
to Ms. Owens' weight gain, ee) Mr. Owens physically assaulted the Petitioner,

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As previously noted, when a petitioner raises different
factual issues under the same legal theory, she is required to
present each factual claim to the highest state court in order to
exhaust her state remedies. O’Sullivan, 526 U.S. at 845; see also
Pillette, 824 F.2d at 496. A petitioner has not exhausted her
state remedies if she has merely presented a particular legal
theory to the courts without presenting each factual claim.
Pillette, 824 F.2d at 497-98. To determine whether Petitioner's
allegations may be considered, the Court must determine therefore
whether she presented them to the state courts.

ln the state court proceedingsr Owens raised the issue of
ineffective assistance of counsel as evidenced by counsels’ failure
to investigate mitigating evidence. wee Addendum 14 at 16-24;
Addendum 18 at 9-17. At the post-conviction hearing related to her
claim of ineffective assistance of counsel, Petitioner presented
the testimony of Eric Gentry, a traumatologist. §ee Addendum 13 at
217-01, 350-37. Gentry's testimony was offered to show what

additional mitigation evidence the defense counsel could have

 

threatened to kill her, and threatened to leave her and take their children, ff)
Mr. Owens used cocaine and amphetamines, gg) Owens sought psychiatric help from
Dr. Max West, but stopped when Mr. Owens refused to attend counseling sessions,
hh) prior to Mr. Owens' death, Mr. And Ms. Owens slept in separate beds, ii)
Owens intended to commit suicide after finding her husband in a parking lot with
another woman, jj) on her way to commit suicide, she decided instead to hire
someone to kill Mr. Owens; she stopped and asked some African-American men if
they would be interested in doing so, kk) for a month and a half Owens gave these
men money to obtain items to be used to kill Mr. Owens and to keep them quiet,
ll) Owens did not want her husband to suffer, and mm) she did not know the manner
in which her husband would be murdered (Claim 1, 11 39 (a)-(w), (y}-(z), {aa),
(ff)-(sq), (ii), (kk)-(OO), (sS)-(ww))-

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presented during the penalty phase of the trial. Among the
testimony solicited from Gentry was his findings concerning
statements made to him or investigators by Petitioner and several
of her family members, friends, and acquaintances. Gentry relied
primarily on his psychosocial assessment of Petitioner when
testifying at the post-conviction hearing. Many of the people that
Gentry referenced in his assessment were persons who Petitioner
alleges in this Court that trial counsel should have interviewed
for mitigating evidence. These persons include lzora Kirksey,
Wilson Kirksey, Carolyn Hensley, Steven Owens, Brian Owens, Thelma
Nichols, Reverend James Greer, and Esther Kirksey. Furthermore,
Gentry’s psychosocial assessment and testimony at the hearing
concerned what trial counsel allegedly would have uncovered about
Owens' background had they interviewed these individuals. Many of
Gentry's findings concerning Owens' background are the same
allegations that she offers in this Court in support of her claim
of ineffective assistance of counsel based on failure to
investigate. These findings and testimony include the allegations
put forth in Claim 1, 1 35(a)-(b)(i)-(iii); (b)(vi)-(viii) and 1
39(a)-(w), (y)-(z), (aa), (ff)-(qq), (ii), (kk)-(OO), {SS)-(ww).
The Court recognizes that merely raising or referencing an
issue in the trial court is insufficient to exhaust state remedies.
The Tennessee Court of Criminal Appeals, however, the final state

court to rule on the merits of Petitioner's post-conviction motion,

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clearly considered Gentry’s assessment and testimony when deciding
Petitioner's claim of ineffective assistance of counsel based on

counsel’s failure to investigate. See Owens, 13 S.W.3d at 750-55.

 

Moreover, Owens' briefs to the court of criminal appeals and the
Tennessee Supreme Court reference Gentry’s assessment and trial
testimony along with the post-conviction judge's findings
concerning Gentry's assessment and testimony. Accordingly, this
Court may consider the allegations found in Claim 14 1 35(a)-
(b)((i)-{viii)) and 1 39 (a)-(w), (y)-(z), {aa), (ff)-(gg), (ii).
(kk)-(oo), (ss)-(ww), when evaluating Petitioner's claim of
ineffective assistance of counsel based on counsel's alleged
failure to investigate mitigating evidence. These allegations will
be viewed by the Court, however, only to the extent and form in
which they were presented to the state courts. The Court further
finds that Petitioner's assertions in Claim 1r 11 37(a)(i)-
(a)(viii) and 38 (a)-(e), that trial counsel failed to interview
specific persons with knowledge of Mr. Owens' extramarital
relationships and with knowledge of Petitioner's actions and
activities in late 1984 to February 1985, were not presented to the
state courts. Accordingly, the Court concludes that these claims
were not exhausted in the state courts, and are therefore now
procedurally defaulted such that this Court may not consider them.
O'Sullivan, 526 U.S. at 845.

The mitigation evidence offered at the sentencing hearing

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consisted of the testimony of Dr. West that Petitioner had been
treated fur a psychiatrist. on one occasion. in 1978 for severe
behavioral problems and testimony from two jail employees that
Petitioner was a good prisoner who caused no problems, volunteered
to work, and attended Bible study classes.

In support of her failure to investigate claim, Owens relies
in part on trial counsel's time sheets which were submitted to the
trial court for compensation. Petitioner maintains that counsel's
entry of only two hours for investigation is insufficient. At the
post-conviction hearing, trial counsel had difficulty remembering
their involvement in the case which occurred almost ten years prior
to the hearing. Moreover, Stein's case file was destroyed in an
office fire. Marty also testified that the time recorded on his
time sheets was “way short” of the actual time he spent working on
the case. The Court must examine the entire record of the trial
proceedings to determine whether the appellant received effective

assistance of counsel. See e.g., Hopkinson v. Shillinger, 866 F.2d

1185, 1217 (10th Cir. 1989), overruled gp other grounds by Sawver

 

v. Smith, 497 U.S. 227 (1990)(holding that defendant must show
specific errors, not solely based upon amount of time afforded to
attorney to prepare defense)(citing United States v. Cronic, 466
U.S. 648, 654 (1984) and United States v. Pearson, 798 F.2d 385,
388 (10th Cir. 1986)). The court of criminal appeals determined,

and this Court agrees that the length of time counsel spent on the

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case is not dispositive of this issue. _ee Owens v. State, 13
S.W.3d at 755.

Petitioner further asserts that her ineffective assistance
claim is evidenced by counsel's failure to investigate her
background, including her personal, medical, and mental history.
The court of criminal appeals determined that Petitioner
specifically alleged that counsel failed to obtain (1) her school
records; (2) the birth records of her children; (3) the file of Dr.
Max West; and (4) her records from Midtown Mental Health. §§§ id;
She contends that these records would have provided the jury with
the “psychodynamics of [her] background and why certain building
blocks of her personality never developed.” Petitioner maintains
that these records would show that she suffered from a “dependent
personality disorder” and an abusive childhood and marriage.

Counsel has an obligation to investigate and present
mitigating evidence at the penalty phase of a capital trial. §ee
Wiggins v. Smith, 539 U.S. 510 (2003) (holding that scope of
investigation into client's “misery as a youth” fell short of the
professional standards then prevailing because counsel knew of
“unfortunate childhood” and there was nothing to suggest that
further investigation would have been either counterproductive or
fruitless); Williams v. Taylor, 529 U.S. at 398-99 (holding that
failure to investigate petitioner’s background, which was horrific,

resulted in ineffective assistance as defined by Strickland};

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Coleman v. Mitchell, 268 F.3d 417, 449 (6th Cir. 2001) (determining
that counsel provided ineffective assistance of counsel by failing
to discover and present the jury with defendant's personal history
including evidence that defendant's grandmother physically and
mentally abused him, neglected him while running a brothel and
gambling house in her home, and involved defendant in voodoo
practice by making him kill animals); Skaggs v. Parker, 235 F.3d
261, 269 (6th Cir. 2000} (finding ineffective assistance of counsel
based on counsel's failure “to present the jury with a realistic
view of [defendant's] mental status” because of counsel's
inadequate preparation for the penalty phase of the trial); Austin
v. Bell, 126 F.3d 843, 848 (6th Cir. 1997) (concluding that counsel
provided ineffective assistance by failing to investigate and
present mitigating evidence at the penalty phase of the trial,
despite the fact that counsel “did not think it would do any good”
to do so); Glenn v. Tate, 71 F.3d 1204, 1207 (6th Cir.
1995)(finding ineffective assistance of counsel because “the jury
was given virtually no information on [defendant's] history,
character, background and organic brain-damage--at least no
information of a sort calculated to raise reasonable doubt as to
whether [defendant] ought to be put to death . . . . The
information was not presented to the jury because counsel never
took the time to develop it.&). The Supreme Court has determined

that “[p]revailing norms of practice as reflected in American Bar

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Association standards and the like . . . are guides to determining
what is reasonable.” Strickland, 466 U.S. at 688-89. The ABA
Guidelines provide that investigations into mitigating evidence
“should comprise efforts to discover all reasonably' available
mitigating evidence and evidence to rebut any aggravating evidence
that may be introduced by the prosecutor.” Wi ins, 539 U.S. at
524 (citations omitted) (emphasis in original). “Among the topics
counsel should consider presenting are medical history, educational
history, employment and training history, family and social
historyr prior adult and juvenile correctional experience, and
religious and cultural influences.” ld. (citation omitted).

The post-conviction court, and court of criminal appeals,
determined that Petitioner's trial counsel did not provide
ineffective assistance of counsel by failing to investigate
Petitioner's background. In so concluding, the post-conviction
court considered the evidence offered at the hearing and found that

ln addition to Mr. Gentry's lack of training
and experience, this Court finds many of his
sources of information appear highly suspect
or biased. His primary source for
petitioner's social history was petitioner
herself, who admittedly has a serious problem
with truthfulness. Much of the history she
reported was contradicted by her family
members, and all of the “sexual trauma" she
reported was totally unsupported by any other
witnesses or medical records . . . . All of
the “trauma" experienced by petitioner, on
which Mr. Gentry based his opinions, such as
sexual brutality performed on the victim by

her husband, was totally unverified. As an
example, petitioner claimed that her husband

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once raped her with a wine bottle, breaking
the neck of the bottle off in her vagina.
According to petitioner, she did not seek
medical treatment, however, There is no proof
in the record that she ever related any of
this alleged sex abuse or violence to anyone
during her entire marriage, or for the first
five months of her attorneys’ representation.
She apparently first related this information
to her attorneys the week of the hearing on
her pretrial motions. When asked if her
children were ever exposed to any of this, Mr.
Gentry responded that petitioner told him
“that Gaile and Ron were very careful to not
let the kids see any of the fights between
them that they had” so they would send the
kids out to play first. Her family members
and friends denied that anything seemed wrong.

Not only was most of the history petitioner
related to Mr. Gentry unverified by
independent sources, but much of it was
contradicted by her family and other prior
statements of petitioner herself. As examples
of this, petitioner related to Mr. Gentry that
her uncle sexually abused her, and that she
had talked to her mother about it. Her mother

denied it. Petitioner apparently never told
anyone about this molestation until preparing
for the hearing on this petition. She said

she wanted to have children and the victim did
not, and was angry with her for getting
pregnant, so she committed the embezzlements
to eliminate the financial strain of her
pregnancies. This flies in the face of all the
evidence that pointed to his loving his two
sons, and her reporting to Dr. West that she
stole because she wanted extra things for
herself and her family. She also stated to
Mr. Gentry that in December 1985 [sic], she
caught her husband and Gala Scott coming back
together to his office early one morning, and
when he got angry at her for spying he slammed
her into his car and called her a “bitch."
She stated she decided at that time, while
driving out of the parking lot, to commit

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suicide, and headed to the Mississippi bridge,
but instead, apparently on impulse, asked a
group of men she saw if they would kill her
husband. She claims to have done this for
only three days, and then stopped and began
trying to recover the photographs and diagrams
she had given the men. This unsupported
allegation flies in the face of trial
testimony that she repeatedly solicited her
husband’s death over a period of weeks and
months. She also explained to Mr. Gentry that
she was physically abused, but explained that
she had told the police and Dr. West that she
had never been physically abused because she
didn't think things like being beaten with a
belt was physical abuse. However, in her
confession to the police she stated she had
her husband killed because “We’ve just had a
bad marriage over the years, and 1 just felt
like he had . . . mentally 1 just felt like he
had been cruel to me. There was very little
physical violence.”

No other witnesses support any of her alleged
medical problems, or their causes, which are
also unsupported by any documentation.
Petitioner has failed to show her attorneys
ineffective in failing to investigate her
medical history, as there is nothing her
attorneys could have discovered other than the
unsupported statements of petitioner, who has
been described as a chronic liar by her
psychiatrist, her “traumatologist,” and her
sister.

1n summary, the best person to have testified
to all this abuse during trial would have been
petitioner, if this story of continued sexual
abuse and physical abuse were true. If her
trial attorneys had called Mr. Gentry as a
witness, or someone else in 1986 with the same
lack of qualifications, his testimony would
have been given little or no weight by the
jury. Since his testimony as to petitioner’s

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social history of trauma was based almost
exclusively on what petitioner had told him,
he could have been cross-examined about his
knowledge of all of petitioner's embezzlements
and forgeries, and the lack of verification
for the “trauma” petitioner related to him
would have been obviously apparent. He would
not have been able to explain the lack of any
indication of trauma in her history, testing
and evaluation by Dr. West, which was taken
after the abuse is alleged to have started,
but prior to her husband’s murder. The state
could have called petitioner’s family members
in rebuttal to deny the social history related
by petitioner. Finally, testimony of
petitioner's suffering from “dependent
personality disorder” would have negated a
mitigating reason for her to have caused her
husband's death.

gwens, 13 S.W.3d at 752-53.

Thus, in sum, the post-conviction court determined that
counsel's purported failure to investigate Petitioner's background
did not result in deficient performance because, had counsel
investigated Petitioner's background, counsel would not have
discovered any medical evidence of sexual or physical abuse by Mr.
Owens; no one would have verified Mrs. Owens' allegations of
sexual, physical or mental abuse; many of Mrs. Owens' allegations
concerning her childhood would have been contradicted by her
family; and Mrs. Owens' family did not wish to testify at the
sentencing phase, and if called, would have given damaging
testimony.

This Court notes that, at the post-conviction hearing,

Petitioner could have called those persons that she asserts in her

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habeas petition would have supported her allegations concerning her
childhood/adolescence and lnarital relationship. She did not,
however, call these persons to testify. Thus, with respect to
Petitioner's background, the only evidence presented to the post-
conviction court was Dr. West’s and Gentry's testimony, which was
based on statements made by Petitioner, statements made by others
to Gentry, and statements made to investigators.

Dr. West had evaluated Petitioner one time in 1978, and his
testimony consisted primarily of his conclusion that Gentry's
assessment of Petitioner was consistent with his limited evaluation
of her. Although Gentry’s testimony would have been admissible at
the sentencing proceedings despite the fact that it was replete
with hearsay and double hearsay, the post-conviction court was in
a position to hear and evaluate Gentry’s testimony and determine
the credibility and effect that such evidence would have had if
presented to the jury. The post-conviction court determined

that even assuming the performance of her
trial attorneys was deficient, that deficiency
caused no prejudice to petitioner. First, the
nature and extent of the mitigating evidence
that has been suggested should have been
offered has little credibility or relevance.
Second, although similar mitigating evidence
was not presented, if it had been presented it
would have opened the door to damaging
evidence to the contrary. Finally, there was
such strong evidence of petitioner's planning
and participation [on] the day of the murder,
such persistent, focused and long term offer
of “remuneration for murder,” and efforts at

continued concealment after the murder, that
the evidence would not have affected the

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jury's determination, and would have allowed
the prosecution to put on in rebuttal
otherwise irrelevant evidence of continued
lies, manipulation and theft by petitioner,
eradicating any good will or sympathy the jury
might have had for petitioner due to the
testimony of Dr. West and the two jail
employees.
1d. at 755.

The post-conviction court concluded that Petitioner failed to
show any deficient performance by her attorneys in preparing for
the sentencing phase and that even if counsel was deficient,
Petitioner did not suffer any' prejudice. 1d. The court of
criminal appeals determined that the evidence did not preponderate
against the post-conviction court's findings, and as a result,
determined that Petitioner's claim was without merit. 1d.

1n assessing prejudice, a federal court must “reweigh the
evidence in aggravation against the totality of available
mitigating evidence.” Wiggins, 539 U.S. at 534. This Court's
review is circumscribed, however, by the post-conviction court's
conclusion with respect to prejudice, given that the post-
conviction court reached the prejudice prong of the Strickland
analysis. See 1d. This Court may grant relief only if the state
court's factual determination was “objectively unreasonable” in
light of the evidence presented in the state court proceedings.
Moreover, the state court's factual determinations are entitled to

a presumption of correctness, which is rebuttable only by clear and

convincing evidence.

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The Court finds that the post-conviction court's
determinations that the mitigation evidence offered at the post-
conviction hearing was not credible and, had it been presented to
the jury, it would have opened the door to damaging evidence to the
contrary, such that Petitioner was not prejudiced, are not
“objectively unreasonable” in light of the evidence presented at
the hearing. Moreover, Petitioner has not established by clear and
convincing evidence that the post-conviction court's factual
determinations are incorrect. Accordingly, this Court concludes
that the post-conviction court's ruling did not result in a
decision that was based on an unreasonable determination of the
facts in light of the evidence presented at the post-conviction
hearing and that the state court's determination was neither
contrary to, nor an unreasonable application,r of clearly
established federal law.

Petitioner also maintains that trial counsel provided
ineffective assistance by failing to investigate Mr. Owens' records
and background and extramarital affairs because they supported her
position that she was physically, sexually, and mentally abused by
him. She contends that records, such as his military and
employment records, demonstrate that Mr. Owens lied about such
things as serving in the Vietnam War and his educational and
employment history. Furthermore, she asserts that Mr. Owens had

extramarital affairs and was engaged in one at the time she

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solicited his murder. Petitioner maintains that had trial counsel
uncovered and presented such evidence to the jury, her claims of
abuse by Mr. Owens would have been bolstered because the jury would
have been provided with a picture of Mr. Owens other than that of
an honest, hard-working family man. Petitioner asserts that the
jury would have been more receptive to her claims of abuse had this
proof been presented.

The post-conviction court determined that the victim's
character traits were irrelevant for mitigation in a capital
sentencing hearing. Qw§gs, 13 S.W.3d at 755; State v. Johnson, 698
S.W.Zd 631, 634 (Tenn. 1985); see also State v. Teague, 680 S.W.Zd
785, 788 (1984) (victim's traits are irrelevant to Initigation
evidence). The post-conviction court also observed that
Petitioner's “claims of abuse were just thatr claims, without any
other corroborating evidence to support them,” and as such, trial
counsel had no reason to try to bolster these abuse contentions.
1dy_ The court of criminal appeals determined that the evidence did
not preponderate against the trial court's findings. 1dy

The Supreme Court has held that a capital defendant is
constitutionally guaranteed to present “as a mitigating factor, any
aspect of a defendant's character or record and any of the

circumstances of the offense that the defendant proffers as a basis

for a sentence less than death.” Lockett v. Ohio, 438 U.S. 586,
604-05 (1978). Courts may, however, “exclude, as irrelevant,

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evidence not bearing” on those factors. 1<_14 at 605. 1n Tennessee,
“evidence is relevant to the punishment only if it is relevant to
a statutory aggravating circumstance or to a ndtigating factor
raised by the defendant.” Porterfield, 746 S.W.2d at 449(citing
Cozzolino v. State, 584 S.W.Zd 765, 768 (Tenn. 1979)}.

The court of criminal appeals determined that the post-
conviction court's conclusion that evidence concerning Mr. Owens'
background was irrelevant to the mitigation of Petitioner's case
because Petitioner failed to corroborate her claims of abuse
suffered at the hands of Mr. Owens was appropriate. ngns, 13
8.W.3d at 755. As such, the court of criminal appeals opined that
trial counsel's performance in allegedly failing to investigate the
deceased’s background was not ineffective. lgy

Petitioner has failed to produce clear and convincing evidence
that the state courts' determination that she failed to corroborate
her claims of abuse is incorrect. The Court does not find the
state courts’ conclusion that Petitioner failed to establish that
she suffered prejudice from trial counsel's alleged failure to
investigate Mr. Owens' background objectively unreasonable.
Furthermore, the Court determines that the post-conviction court's
conclusion that trial counsel's alleged failure to investigate and
present as mitigation evidence Mr. Owens' medical, educational, and
employment records and proof of extramarital affairs, did not

result in ineffective assistance of counsel, was neither contrary

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to, nor an unreasonable application, of clearly established federal
law. Accordingly, the Court grants Respondent’s motion for summary
judgment as to Petitioner's claim of ineffective assistance of
counsel based on failure to investigate mitigating evidence, Claim
1, 11 33-39.
b. Failura To Obtain Expert Services

Petitioner asserts that trial counsel provided ineffective
assistance of counsel by failing to comply with procedural
requirements when requesting funds prior to trial to employ a
mental health expert. She maintains that trial counsel failed to
identify l) the name of the proposed expert, 2) the type of expert,
3) how and when the expert services would be performed, 4) the cost
of the services, and 5) a statement of need for the services.
Owens further asserts that trial counsel should have made the
request in an ex parte motion. 1f trial counsel had complied with
the procedural requirements and obtained the expert's services,
that witness would have determined among other things that Owens
had a troubled childhood, suffered from characterlogical problems,
and at the time of the offense was suffering from a “moderately
severe affective mental disorder."

The Tennessee Court of Criminal Appeals considered whether
trial counsel rendered ineffective assistance in failing to file an
ex parte motion for funds for a mental health expert. 1n so doing,

the court noted that prior to trial, counsel filed a motion

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requesting funds for an independent mental health evaluation of Ms.
Owens. Qwsns, 13 S.W.3d at 755. The court further observed that
the trial court denied the motionr but ordered an examination be
performed by Midtown Mental Health Center to determine her
competency and sanity. 1314 The appellate court then determined
that Owens failed to establish that she was prejudiced by counsel's
failure to request in an ex _parte lnotion the services of an
independent expert. 1;14 at 756. 1n order to receive funding for
an independent expert, the appellate court stated that “[t]he
defendant must show that a substantial need exists requiring the
assistance of state paid supporting services and that this defense
cannot be fully developed without such professional assistance.”
1dy (quoting State v. Evans, 838 S.W.Zd 185, 192 (Tenn. 1992)).
Notwithstanding the testimony of Eric Gentry, the court concluded
that the proof did not establish that a “substantial need” existed
for such services. 1c_iL

1n Ake v. Oklahoma, 470 U.S. 68 (1985), the Supreme Court held
that “when a defendant has made a preliminary showing that his
sanity at the time of the offense is likely to be a significant
factor at trial, the Constitution requires that a State provide
access to a psychiatrist's assistance on this issue, if the
defendant cannot otherwise afford one.” Ake, 470 U.S. at 74. The
A court further held that the State must provide similar expert

assistance “in the context of a capital sentencing proceeding, when

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the state presents psychiatric evidence of the defendant's future
dangerousness.” _1d; at 83. The gke_majority emphasized, however,
that its ruling was limited to cases in which the defendant's
mental condition was “seriously in question” upon a “threshold
showing” by the defendant. ldy at 82. Furthermore, the court
determined that the state was obligated to provide only one
competent psychiatrist and that it could choose that psychiatrist.
Thus, the defendant's right does not include the selection of a
psychiatrist of his choice. 1d; at 83 (noting that “[t]his is not
to say, of course, that the indigent defendant has a constitutional
right to choose a psychiatrist of his personal liking or to receive
funds to hire his own.”}.

The Sixth Circuit has interpreted Ake as requiring psychiatric
assistance during the sentencing phase if 1) the defendant's sanity
was a significant factor at trial, or 2) the state presents
psychiatric evidence of future dangerousness at the sentencing
phase. §mi;h, 348 F.3d at 207; Mason v. Mitchell, 320 F.3d 604,
615-16 (6th Cir. 2003); Thompson v. Bell, 315 F.3d 566, 588-89 (6th
Cir. 2003); Skaggs, 235 F.3d at 272; United States v. Osoba, 213
F.3d 913, 917 (6th Cir. 2000); Kordenbrock v. Scroogv, 919 F.2d
1091, 1120 (6th Cir. 1990) (en banc opinion of Kennedy, J., with
five Judges concurring and one Judge concurring in the result).
Therefore, under current federal case law, a defendant who simply

contests the mental element of the crime or the appropriateness of

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the death penalty due to diminished capacity is not entitled to the
assistance of an expert.

Tennessee has determined that expert services must be provided
upon a showing of substantial need. Thus, instead of the two
limited circumstances in which expert services are required
pursuant to ALQ, a defendant in Tennessee may receive expert
services upon a showing of substantial need.

1n the instant case, Petitioner did not assert an insanity
defense nor did the prosecution attempt to establish at the
sentencing hearing that she posed a future danger or threat.
1nstead, Petitioner sought the assistance of a mental health expert
in order to present mitigation evidence that her mental health
lessened her culpability in her husband’s murder. The State
therefore was not required under federal law to provide Petitioner
with an independent mental health expert. The state court's
determination that Owens failed to establish that a substantial
need existed which required expert services is not contrary to
federal law. As such, Owens has not established under Strickland
that she was prejudiced by her trial counsel's failure to seek an
independent mental health evaluation. The Court finds that the
state court's ruling was neither contrary to nor an unreasonable
application of federal law; nor was it an unreasonable
determination of the facts in light of the evidence presented.

Accordingly, the Court grants Respondent’s motion for summary

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judgment as to Claim l, 11 40-42.

c. Failure To Overcome State's Hearsay Objections
At The Sentencing Hearing

Petitioner's final claim of ineffective assistance of counsel
is based on counsel's failure to overcome the State's hearsay
objection made to Dr. West's testimony during the sentencing phase.
At that hearing, trial counsel attempted to question Dr. West about
Owens' social history, The State objected on the basis of hearsay.
The trial court sustained the objection, despite the fact that
Tennessee Code Annotatej § 39-2-203(c)(repealed) permitted the
introduction of hearsay testimony during the sentencing phase in a
capital case.

The Tennessee Court of Criminal Appeals affirmed the post-
conviction court’s finding that Owens had not established
ineffective assistance of counsel. ldy The court based its
determination on the lower court's finding that Petitioner failed
to establish prejudice as a result of trial counsel's actions. ldy
The court concluded that Owens failed to establish prejudice
because if Dr. West had been allowed to present hearsay testimony
about Owens' social history, “he would have revealed, ‘damaging
admissions by petitioner that she had no problems with her
marriage, and that she had a long term problem with lying and
stealing, [which] would not have helped her gain sympathy with the
jurY-"' I_d.._

Thus, the state court made a factual determination that Dr.

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West's testimony would not have furthered Owens' case. With
respect to that determination
a federal habeas court may not grant habeas relief under
§ 2254(d)(2) simply because the court disagrees with a
state trial court's factual determination. Such relief
may only be granted if the state court's factual
determination was “objectively unreasonable” in light of
the evidence presented in the state court proceedings.
Moreover . .. , the state court's factual determinations
are entitled to a presumption of correctness, which is
rebuttable only by clear and convincing evidence.
Young, 52 Fed. Appx. at 236 (citing 28 U.S.C. § 2254(e)(1)). This
Court finds that although the state court's determination that
Petitioner did not suffer prejudice from trial counsel's failure to
overcome the hearsay objection may be unreasonable, it cannot be
said that it is objectively unreasonable. Accordingly, the Court
grants Respondent’s motion for summary judgment as to Claim 1 in

its entirety.

C. Claim 2 - The State Violated The Sixth,
Eighth, And Fourteenth Amendments By
Withholding Exculpatory Evidence.

Petitioner asserts that the prosecution failed to provide her
with any information that Mr. Owens “had numerous girlfriends,
extramarital sexual affairs possibl{y] involving unusual sexual
proclivities and/or perversions . . . .” Addendum 1 at 149. Owens
claims that she requested this information because “these
proclivities, perversions, and affairs were flaunted and visited
upon [Petitioner] with such regularity and in such ways as to

contribute to her state of mind and mental conditions . . . .” 1d.

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During the investigation of Mr. Owens' murder, investigators
discovered notes and letters from Gala Scott to Mr. Owens in his
office. The police report indicates that these letters evidence
that Scott and the decedent had an affair. The prosecution did not
provide Petitioner with the letters or notes nor did they inform
her of their existence. Owens maintains that the prosecution's
failure to disclose this evidence resulted in a violation of §;ady
v. Maryland, 373 U.S. 83 (1963).

The court of criminal appeals determined that Petitioner's
§§agy clain\ was not meritorious because she was aware of her
husband’s extramarital affairs and the love letters and notes were
not exculpatory. Qy§ns, 13 S.W.3d at 758. The court of criminal
appeals stated that

[t]he proof establishes that {Petitioner]
discovered the victim's affair with Gala Scott
several months prior to the murdern This
discovery led [Petitioner] to consider suicide
and subsequently solicit her husband’s murder.
Moreover, [Petitioner's] attorneys were aware
of extramarital affairs of the victim through
their conversations with the appellant as
evidenced by their request for information in
their exculpatory motion. The duty upon the
State under Brady does not extend to
information already in the possession of the
defense or that they are able to obtain or to
information not in possession or control of
the prosecution. Banks v. State, 556 S.W.Zd
88, 90 (Tenn. Crim. App. 1977).

More importantly, however, is the requirement
that the information suppressed must have been
exculpatory, i.e., favorable to the appellant.
We conclude that this evidence was not
favorable and, accordingly, no Brady violation

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is found. In this regard, we would not

disagree with trial counsel's testimony that

introduction of this evidence may have

provided the appellant with a motive to kill

her husband. This issue is without merit.
1d. at 758-59.

1n Brady v. Maryland, 373 U.S. 83 (1963), the Court held that

“the suppression by the prosecution of evidence favorable to an
accused upon request violates due process where the evidence is
material either to guilt or to punishment, irrespective of the good

faith or bad faith of the prosecution.” Brady, 373 U.S. at 87.

The prosecution is required to disclose such evidence even if the

 

accused has failed to request the evidence. United States v.
Agurs, 427 U.S. 97, 107 (1976). The duty to disclose evidence

includes impeachment evidence as well as exculpatory evidence.
United States v. Bagley, 473 U.S. 667, 676 (1985). The duty tol
disclose also encompasses evidence “known only to police
investigators and not to the prosecutor.” Strickler v. Greene, 527
U.S. 263, 280-81 (1999) (quoting K les v. Whitle , 514 U.S. 419,
438 (1995)). “[A] constitutional error occurs, and the conviction
must be reversed, only if the evidence is material in the sense
that its suppression undermines confidence in the outcome of the
trial.” Ba le , 473 U.S. at 678. Evidence is material “if there
is a reasonable probability that, had the evidence been disclosed
to the defense, the result of the proceeding would have been

different.” 1d.; see also Kyles, 514 U.S. at 433-34. “There are

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three components of a true §;ady violation: [1] [t]he evidence at
issue must be favorable to the accused, either because it is
exculpatory, or because it is impeaching; [2] that evidence must
have been suppressed by the State, either willfully or
inadvertently; and [3] prejudice must have ensued.” Strickler, 527
U.S. at 281-282.

With respect to the first component, the court of criminal
appeals determined that the love letters were not exculpatory
because they were not favorable to Owens. 1n so concluding, the
court determined that the letters may have provided her with a
motive to kill Mr. Owens. As Petitioner points out, however, this
conclusion assumes that the evidence of the love letters would have7
been presented during the guilt phase. 1f such were the case, then
certainly the evidence would not have been favorable. Petitioner
asserts, however, that had she known of the letters, she could have
used them to corroborate her allegation of mental abuse as
mitigation evidence. The Court finds that it is unnecessary to
determine whether the love letters and police report were
exculpatory evidence because Petitioner has failed to establish the
third element of a §;ady claim, i.e., prejudice resulting from the
suppression of the evidence.

§;ady requires the disclosure of evidence that is material
either to guilt or to punishment. The record indicates that

Petitioner knew of Mr. Owens' affair with Scott months before his

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murder. 1n fact, Owens asserted that she solicited her husband's
murder after finding him in a parking lot with Scott. Moreover, as
established by defense counsel's request for evidence of Mr. Owens'
extramarital affairs, Petitioner had informed her attorney of Mr.
Owens' liaisons. Despite knowing this, the defense presented no
mitigation evidence at the sentencing' phase of the decedent's
illicit conduct.

Petitioner maintains that she did not present such evidence
because she had nothing to corroborate her allegations. The Court
finds this argument unavailing because she could have corroborated
her allegations with Scott's testimony. Had Petitioner wished to
introduce evidence of the decedent’s extramarital affairs, she
could have subpoenaed Scott to testify. Petitioner has not shown
that there was a reasonable probability that her conviction or

sentence would have been different had these materials been

disclosed. She therefore cannot show materiality or prejudice
under Brady. The Court finds therefore that the state court's

conclusion that Petitioner's §;agy claim is without merit is
neither contrary tor nor an unreasonable application of, clearly
established federal law, as determined by the Supreme Court of the
United States; nor is it an unreasonable determination of the facts
in light of the evidence presented in the State court proceeding.
Accordingly, the Court grants Respondent's motion for summary

judgment as to Claim 2, 11 56-66.

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D. Claim 3 - Petitioner's Fifth, Sixth, Eighth, And
Fourteenth Amendment Rights Were Violated By 1) The
Trial Court's Denial Of Petitioner's Request For
Funds To Hire An Independent Mantal Health Expert;
And 2)The Denial Of Access To Counsel During
Petitioner's Court-Ordered Mental Health
Examination.

Petitioner asserts that her constitutional rights were
violated by the trial court's denial of her request for funds to
employ an independent mental health expert. Before trial,
Petitioner sought funds to hire a mental health expert to
investigate her l) competence to stand trial, 2) legal sanity at
the time of the crime and mental state relating to her degree of
culpability, and 3) matters related to mitigation in the event of
conviction. At the hearing on Petitioner's request for funds,
trial counsel informed the court of his belief that his client
could assert a nmritorious battered wife syndrome defense that
would be relevant at both the guilt and sentencing stages.
Addendum 2 at 148-65. 1n support of Ms. Owens' request for funds,
trial counsel told the court about various allegations of sexual
abuse that the Petitioner suffered at the hands of her husband.
1dy

The trial court ordered Midtown Mental Health Center (“MMHC”)
to perform a competency and sanity exam. Addendum 1 at 67. The
trial court further indicated that if either of these inquiries

established that further testing was needed, it would reconsider

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Petitioner's request for funds. Addendum 2 at 148-65. When MMHC
attempted to evaluate Petitioner to determine her sanity at the
time of the offense, she refused to answer their questions in the
absence of her attorney. §ee Addendum 1 at 77. MMHC therefore
was unable to perform an evaluation of Petitioner's sanity at the
time of the crime. ldy The trial court thereafter denied Owens'
request for funds to hire an independent mental health expert.

On direct appeal, the Tennessee Supreme Court denied
Petitioner relief on this issue without discussion. She now seeks
habeas relief from the state court ruling, basing her challenge to
the trial court's ruling on Ake, 470 U.S. 68.

1n Ake, the Supreme Court held that “when a defendant has made
a preliminary showing that [her] sanity at the time of the offense
is likely to be a significant factor at trial, the Constitution
requires that a State provide access to a psychiatrist's assistance
on this issue, if the defendant cannot otherwise afford one.” Ake,
470 U.S. at 74 (holding that, upon a proper showing by the
defendant, “the State must, at a minimum, assure the defendant
access to a competent psychiatrist who will conduct an appropriate
examination and assist in evaluationr preparation, and presentation
of the defense.”). The sys court further held that the State must
provide similar expert assistance “in the context of a capital
sentencing proceeding, when the state presents psychiatric evidence

of the defendant's future dangerousness.” 1d. at 83. The Ake

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majority emphasized, however, that its ruling was limited to cases
in which the defendant's mental condition was “seriously in
question” upon a “threshold showing" by the defendant. 1dy at 82.
Furthermore, the Court determined that the state was obligated to
provide only one competent psychiatrist based on its selection.
Thus, the defendant's right does not include the right to a
psychiatrist of her choice. 1dy at 83 (noting that “[t]his is not
to say, of course, that the indigent defendant has a constitutional
right to choose a psychiatrist of [her] personal liking or to
receive funds to hire [her] own.”).

The Sixth Circuit has followed Ak§ by requiring psychiatric
assistance during the sentencing phase only if l) the defendant's
sanity was a significant factor at trial, or 2) the state presents
psychiatric evidence of future dangerousness at the sentencing
phase. §mi;h, 348 F.3d at 207; Maspn, 320 F.3d at 615-16;
Thompson, 315 F.3d at 588-89; Skaggs, 235 F.3d at 272; ngba, 213
F.3d at 917; Kordenbrock, 919 F.2d at 1120 (en banc opinion of
Kennedy, J., with five Judges concurring and one Judge concurring
in the result). Therefore, a defendant who simply contests the
mental element of the crime or the appropriateness of the death
penalty due to diminished capacity is not entitled to the
assistance of an expert.

1n the instant case, Owens did not assert an insanity defense

nor did the prosecution attempt to establish at the sentencing

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hearing that she posed, a future danger or threat. lnstead,
Petitioner sought the assistance of a mental health expert in order
to present mitigating evidence that her mental health lessened her
culpability in her husband's murder. The State therefore was not
required to provide her with an independent mental health expert.
As such, the Court finds that the state court's ruling was neither
contrary to nor an unreasonable application of federal law; nor
was it an unreasonable determination of the facts in light of the
evidence presented. Accordingly, the Court denies Petitioner
relief on her Ake claim and grants summary judgment of Claim 3, 11
67-70, 75.

Petitioner likewise asserts that her constitutional rights
were violated because she was denied access to her attorneys during
a court-ordered mental health examination. Claim 3, 11 71-74, 76.
She refused to answer certain questions and as such the mental
health expert was unable to evaluate her sanity at the time of the
crime. Respondent argues that Petitioner procedurally defaulted
this claim by failing to raise it in the state courts. Petitioner
maintains, however, that these assertions merely supplement her
claim that the trial court erred by failing to authorize funds for
an independent mental evaluation. Owens asserts therefore that
pursuant to Vasguez v. Hillerv, 474 U.S. 254 (1986), this claim is
not procedurally defaulted. because it does not “fundamentally

alter” the claim presented to the Tennessee courts.

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In Vasguez, the state court considered the issue of whether
blacks had been purposefully excluded from service on grand juries.
Vasguez, 474 U.S. at 256-57. The state court concluded that no
discrimination had occurred in the selection of grand juries. 1dy
During habeas review, the district court directed the parties to
present supplemental evidence concerning such alleged
discrimination. ldy The evidence consisted of affidavits and a
computer analysis assessing the mathematical possibility that
chance or accident could have accounted for the exclusion of blacks
from grand juries. ldy The petitioner asserted that the inclusion
and consideration of the new evidence by the district court
circumvented the respondent’s obligation to exhaust state remedies.
ldy at 257. 1n concluding that the petitioner did exhaust the
state court remedies, the Court determined that “the supplemental
evidence presented by respondent did not fundamentally alter the
legal claim already considered by the state courts”- i.e., whether
respondent was denied equal protection of the law based on
discrimination in grand jury selection. 1dy at 260.

Unlike the evidence considered by the trial court in ya§gye;,
Petitioner's assertion that her constitutional rights were violated
because she was denied access to her attorneys during a court-
ordered mental health examination presents an entirely independent
claim from. that of whether the trial court erred in denying

Petitioner's request for funds to employ an independent mental

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health expert. The evidence considered by the district court in
Vasguez was material that the district court itself requested in
order to more fully evaluate the claim which had already been
considered by the state supreme court. 1n the instant action, the
state courts were never given an opportunity to review the merits
of Petitioner's claim that her constitutional rights were violated
because she did not have counsel present during her psychological
evaluation. Thus, the Court concludes that Petitioner's
constitutional claim regarding the lack of access to her attorney
during her mental evaluations fundamentally alters her legal claim
that her Fifth, Sixth, Eighth, and Fourteenth Amendment rights were
violated by the trial court's denial of Petitioner's request for
funds to hire an independent mental health expert.
Petitioner failed to exhaust this claim in the state court
proceedings and, thus, she is now barred by Tennessee’s post-
conviction statute of limitations and waiver provisions from
asserting this claim. Accordingly, Owens has procedurally
defaulted the claim, and this Court may not consider its merits on
habeas review. The Court therefore grants Respondent’s motion for
summary judgment as to Claim 3, 11 67-76, in its entirety.
E. Claim 4 - Gender Discrimination In The Selection Of
The Grand Jury Foreperson Resulted In The Violation
Of Petitioner's Fourteenth Amendment Due Process
Right.

Petitioner asserts that her Fourteenth Amendment right to due

process was violated because gender discrimination systematically

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occurred in the selection of grand jury foremen, including the
selection of the foreman for the grand jury that indicted her. 1n
support of this claim, Owens presented evidence at trial that no
woman was appointed as a grand jury foreperson for a Shelby County,
Tennessee, Grand Jury from 1862 through September 16, 1985. see
Addendum 1 at 261; Exs. 4, 5. Respondent maintains, however, that
Petitioner procedurally defaulted this claim because it was not
included in her direct appeal to the Tennessee Court of Criminal
Appeals or to the Tennessee Supreme Court.

A review of the record indicates that Petitioner in fact
failed to present this claim at any time other than during the
trial proceedings. The assertion of a claim during a trial does
not satisfy the exhaustion requirement when it is not pursued on
appeal. O’Sullivan v. Boerckel, 526 U.S. 838 (1999).

Owens next argues that her failure to exhaust this issue and
the resulting procedural default should be excused based on
counsel's ineffective assistance in failing to present this claim
on appeal. 1n sum, she contends that she has established cause and
prejudice sufficient to excuse the default based on ineffective
assistance of counsel. A petitioner confronted with procedural
default must show cause for the default and prejudice to obtain
federal court review of his claim. Teague, 489 U.S. at 297-99;
§ykes, 433 U.S. at 87-88. Cause for a procedural default depends

on some “objective factor external to the defense” that interfered

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with the petitioner's efforts to comply with the procedural rule.
Coleman, 501 U.S. at 752-53; Murray, 477 U.S. at 488. An
ineffective assistance of counsel claim may be used to establish
cause for procedural default. Edwards, 529 U.S. at 453. The
ineffective assistance of counsel claim relied upon to prove cause,
however, must not have been procedurally defaulted. 1Qy 1f the
ineffective assistance of counsel clainlwas procedurally defaulted,
the default may be excused if the defendant can establish cause and
prejudice to that claim. 1dy

A review of the record indicates that Petitioner did not raise
in the state courts the ineffective assistance of counsel to
present a constitutional claim based on gender discrimination in
the selection of the grand jury foreperson. As such, Owens failed
to exhaust this claim in the state court proceedings and is now
barred by Tennessee's post-conviction statute of limitations and
waiver provisions from asserting this claim. Furthermore, she has
not shown cause for the default or prejudice resulting therefrom,
as is required to obtain federal court review of this issue.
Petitioner therefore may not rely on her claim of ineffective
assistance of counsel to establish cause for the default of her
gender discrimination argument. The Court finds that Petitioner
has not established cause to excuse her procedural default, and
this Court may not consider the merits of the claim on habeas

review. Accordingly, the Court grants Respondent's motion for

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summary judgment as to Claim 4, 11 77-83.

F. Claim 5 - Petitioner's Conviction And Sentence
Violate The Sixth, Eighth, And Fourteenth
Amendments Because African-Americans Were
Under-Reprasented On The Venire Due To
Systematic.Exclusion Of African-Americans From
The Jury Selection Process And The State's
Discriminatory Use Of Peramptory Challenges.

Pursuant to Duren v. Missouri, 439 U.S. 357, 364 (1979),
Petitioner asserts that a constitutional violation occurred because

African-Americans were under-represented on panels from which

prospective jurors were drawn. Likewise, pursuant to Batson v.

 

Kentucky, 46 U.S. 79 (1986), she maintains that the State
unconstitutionally used its peremptory challenges to exclude
African-Americans from the jury. The Warden asserts that
Petitioner has procedurally defaulted these claims because they
were not included in her appeal to the Tennessee Court of Criminal
Appeals or the Tennessee Supreme Court. Petitioner maintains that
she did not default them because Porterfield raised the claims in
his appellate brief, and she adopted them by reference in her
appellate brief.

Rule 27 of the Tennessee Rules of Appellate Procedure
provides that “[i]n cases involving multiple parties . . . any
party may adopt by reference any part of the brief of another
party.” Tenn. R. App. P. 27(j). Therefore, any claims raised by
Porterfield in his appellate brief and adopted by reference by

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Petitioner were exhausted in the state courts, and as such are not
procedurally defaulted.

The record indicates that Porterfield's brief included a claim
based on the racial make-up of the venire. §§g Addendum 8 at 2, 22
(asserting that “[t]he jury panels offered in the present case
contained an under-representation of blacks due to systematic
exclusion of blacks in the jury selection process. . . HW.
Furthermore, in her appellate brief, Petitioner adopted by
reference various other claims raised by Porterfield. §ee Addendum
7 at 2 (adopting by reference issues 1, 11, 111, IV, VI, XV, XVII,
X1X from Porterfield’s brief); Addendmn 8 at 2-4 (listing and
describing issues presented for review by Porterfield). A review
of Petitioner's brief, however, establishes that claim V,
Porterfield's claim of racial discrimination, was not adopted by
her. Moreover, the issue of the discriminatory use of peremptory
challenges by the State was not asserted by either Porterfield or
Owens. Thus, Petitioner failed to exhaust this claim in the state
courts. Claim 5 is therefore procedurally barred.

Moreover, even if Petitioner were not procedurally barred from
asserting this claim, the district court previously rejected the
arguments raised in this claim. §ee Porterfield v. Bell, case no.
97-2362, Order On Respondent’s Motion For Summary Judgment On The
Habeas Corpus Petition And On Petitioner's Motion To Expand The

Record, June 4, 1999, at pp. 31-34 (“Porterfield Order 1”);

 

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Memorandum And Order Granting Respondent’s Second Motion For
Summary Judgment denying Petitioner's Motion For Summary Judgment
And Denying Petition For Writ Of Habeas Corpus, December 18, 2000
(“Porterfield Order 11”). Specificallyr the district court
concluded that Porterfield “failed to develop the factual record”
on his “Qy;en claim” {see Qy;§n, 439 U.S. at 364) of systematic
exclusion of African-Americans from the jury pool and that
“[b]ecause he lack[ed] facts to establish a Qy;en violation, his
claim must fail.” Porterfield Order 1 at pp. 32, 33.

Although neither Petitioner nor Porterfield raised the issue
of the State’s alleged discriminatory use of peremptory challenges,
the district court determined that the Tennessee Supreme Court had
addressed the issue and therefore it was deemed exhausted.
Porterfield Order 11, p. 15. The district court found, however,

that Porterfield failed to exercise diligence in creating a

sufficient record which did not support a prima facie case pursuant

 

 

to Batson v. Kentuckv, 476 U.S. 79 (1986}. Porterfield Order 11,
pp. 15, and 20-30. Given that the record of Petitioner's Batson

claim is more insufficient than Porterfield’s, Petitioner would not
be entitled to relief even if this Court were to reach the merits
of this issue. Moreover, Petitioner is not entitled as a matter of
law to bring a Batson claim because Powers v. Ohio, 499 U.S. 400
(1991), the United States Supreme Court decision that permitted

white defendants to object to the exclusion of blacks from their

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juries, was decided after Owens' conviction became final on direct
appeal. Accordingly, the Court grants Respondent’s motion for

summary judgment as to Claim 5.

G. Claim 6 - Petitioner's Conviction And Sentence
Violate The Sixth, Eighth, And Fourteenth
Amendments Because The Jury Was Tainted By Pretrial
Publicity And The Trial Court Precluded Counsel
From Effectively Exploring Jurors' Knowledge Of The
Case.

Petitioner asserts that the jury was tainted because she was
prevented from effectively exploring the nature and extent of
various jurors’ knowledge of the case by the trial court.
Respondent contends that Petitioner again procedurally defaulted
this claim by failing to present it to the state courts. Owens did
adopt this issue, ISsue 11 of Porterfield, by reference in her
brief. His brief, however, raised the claim of the tainted jury as
a violation of the Sixth and Fourteenth Amendments. ns
Petitioner's assertion of a tainted jury is based upon an Eighth
Amendment violation, it is procedurally defaulted as unexhausted

in the state courts.

1n Porterfield Order 1, the district court determined that the

 

Tennessee Supreme Court's factual conclusion that Porterfield and
Owens did not suffer any prejudice from the denial of individual
voir dire was not an unreasonable application of clearly
established federal law as determined by the United States Supreme
Court; nor were the Tennessee court's factual findings

unreasonable. Porterfield Order 1, pp. 29-30. Specifically, the

 

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state supreme court ruled that the trial court's denial of
individual voir dire was not error because prospective jurors were
questioned by the trial court about their knowledge of the case.

See Porterfield v. Bell, 746 S.W.2d 441, 447 (Tenn. 1988).

 

Furthermore, most of the jurors who had been exposed to pretrial
publicity indicated that they were only vaguely familiar with the
case. lgy The trial court also advised the jurors that they could
consider only the evidence presented during the trial and excused
those jurors who indicated they could not set aside what they
already knew about the case. ldy This Court finds, as in the

Porterfield orders, that the state court's determination that

 

neither Owens nor Porterfield suffered any prejudice from the
denial of individual voir dire was not an unreasonable application
of clearly established federal law as determined by the United
States Supreme Court; nor were the Tennessee court's factual
conclusions unreasonable. Accordingly, the Court grants

Respondent's motion for summary judgment as to Claim 6.

H. Claim 7 - Petitioner's Conviction And Sentence
Violate The Sixth, Eighth, And Fourteenth
Amendments Because Prospective Jurors Were Exposed
To A Reporter's Prejudicial Account Of The
Proceedings.

Owens alleges that the trial court's failure to declare a
mistrial, after it was discovered that prospective jurors overheard

a news reporter’s account to his newspaper about the court

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proceedings, violated her Sixth, Eighth, and Fourteenth Amendment
rights. Respondent asserts that Petitioner is procedurally barred
from asserting this claim because she did not exhaust her state
remedies. Petitioner adopted this claim by reference from
Porterfield's brief.

The Court finds Petitioner has defaulted the claim. The
district court in Porterfield Order 1 determined that in the state
court proceedings Porterfield did not frame this claim in terms of
a constitutional violation. §ee Porterfield Order* 1, p. 30.
Furthermore, Porterfield did not rely on state cases that used
constitutional analysis in similar fact situations nor did he
assert the claim in a manner so particular as to inform the state
court that he was making a federal constitutional claim. lgy
Accordingly, the state courts were not given a fair opportunity to
consider the federal constitutional claim. ldy As such,
Porterfield, and Owens by way of adoption of Porterfield's
argument, defaulted the claim because it was not exhausted. 1t is
now barred by Tennessee’s post-conviction statute of limitations
and waiver provisions.

Moreover, like the Porterfield district court, this Court

 

notes that even if Owens could establish cause to excuse her
default, Petitioner would not be entitled to habeas relief. See id.
The trial judge questioned the prospective jurors concerning

whether they overheard the news reporter’s conversation and

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admonished them that news reports were not evidence. When several
of the prospective jurors indicated that they had overheard the
telephone call, Owens and Porterfield moved for a mistrial or in
the alternative for a new jury panel. See Porterfield v. Bell, 746
S.W.2d 441, 447 (Tenn. 1988). The trial court denied the motion,
but permitted individual voir dire on the incident. ldy The trial
judge determined that those who were questioned individually had
not overheard anything prejudicial or even substantial. ldy The
trial court's finding is entitled to a presumption of correctness,
and Petitioner has failed to develop a factual basis for disputing
this claim. §ee 28 U.S.C. § 2254(e). Accordingly, the Court
grants Respondent’s motion for summary judgment as to Claim 7.

I. Claim 8 - Petitioner's Conviction And. Sentence
Violate The Sixth, Eighth, And Fourteenth
Amendments Because Prospective Jurors Were Exposed
To Prejudicial Information During Group Voir Dire.

Petitioner asserts that two comments made by prospective
jurors during voir dire prejudiced the venire.13 Respondent asserts
that Petitioner failed to exhaust this claim in the state courts,
despite her adoption of Porterfield's brief by reference. The
Tennessee Supreme Court, when analyzing the merits of this issue,

discussed it in the context of both Owens and Porterfield.

 

13 One prospective juror, in response to defense counsel's question,

stated that a person serving a life term would only “stay in there” a certain
amount of time. When asked about his knowledge of the case, another potential
juror stated that his wife read the papers and told him of the important items.
He further said, “1 just know what went down, and 1 know that there is a case.”
Both prospective jurors were peremptorily dismissed.

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Porterfield, 746 S.W.2d at 448. Despite Petitioner's adoption of
the claim in the state court, it is defaulted.

1n Porterfield Order 1, the district court concluded that in
the state court proceedings Porterfield did not frame this
contention in terms of a constitutional violation despite having
raised the issue of jury prejudice based on the comments of the
prospective jurors. see Porterfield Order 1, p. 30. Furthermore,
Porterfield did not rely on state cases that used constitutional
analysis in similar fact situations nor did he assert the claim in
a manner so particular as to inform the state court that he was
making a federal constitutional clainh ldy .Accordingly, the state
courts were not given a fair opportunity to consider the federal
constitutional claim. 1dy This Court agrees with the Porterfield
court's conclusion. As such, Porterfield, as well as Owens, have
defaulted this issue because it was not exhausted. Likewise, the
clabn is now barred by Tennessee's post-conviction statute of
limitations and waiver provisions.

Moreover, the Court agrees with the _Eg;§g;fi§ld district
court's finding that even if Porterfield, and therefore Owens,
could establish cause to excuse their default, they are not
entitled to relief. _eg Porterfield Order 1, p. 31. Petitioner
failed to show that the jury which was selected was prejudiced or
biased by the statements of the two prospective jurors. §§e

Porterfield, 746 S.W.2d. at 447-48. Furthermore, the Tennessee

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courts determined that these comments did not prejudice either

Owens or Porterfield. See Porterfield, 746 S.W.Zd at 447~48

 

(stating that “[t]he comments did not in any way affect the
presumption of innocence or in any way lessen the burden of the
state to prove its case.”). Petitioner, like Porterfield, has
established no reason for this Court to cast doubt on the Tennessee
Supreme Court's conclusions. Accordingly, the Court grants
Respondent's motion for summary judgment as to Claim 8.

J. Claim 9 - The Trial Court Violated Petitioner's
Sixth, Eighth, And Fourteenth Amendment Rights By
Denying Her Request For Individual, Sequestered,
Voir Dire.

Petitioner contends that the venire was tainted by prejudicial
pretrial publicity, and the trial judge erred by not allowing
individual, rather than group, voir dire. Respondent asserts that
Petitioner failed. to exhaust this clain1 in the state courts,
despite her adoption of Porterfield’s brief on this argument. The
Tennessee Supreme Court, when analyzing the merits of this claim,
discussed it in the context of both Owens and Porterfield. To the
extent that it was raised in the state courts by Porterfield's
brief, this Court finds that Owens exhausted the claim, and thus it
is not procedurally barred.

Porterfield presented this argument as a violation of the
Sixth and Fourteenth Amendments. The state courts, therefore, did
not have an opportunity to consider the individual voir dire claim
in the Eighth Amendment context. Accordingly, Petitioner

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procedurally defaulted any claimed violation of the Eighth
Amendment based on the trial court's denial of individual,

sequestered voir dire.

The district court in Porterfield v. Bell, No. 97~2362 (W.D.
Tenn. 1999), considered this same issue. The Porterfield district
court concluded that the Tennessee Supreme Court's ruling that
Owens and Porterfield did not suffer any prejudice from the trial
court's denial of individual voir dire was not an unreasonable
application of clearly established federal law as found by the
United States Supreme Court; nor were the Tennessee Supreme Court's
factual determinations unreasonable. _§g Porterfield Order I, pp.
29~30. This Court concurs with the Porterfield district court.

Potential jurors need not be completely ignorant of the facts
and issues of a case. §§e Murphv v. Florida, 421 U.S. 794 (1975).
“It is sufficient if the juror can lay aside his impression or
opinion and render a verdict based on the evidence presented in
court.” ldg at 800. The Tennessee court determined that the trial
court's denial of individual voir dire was not an error because the
trial court questioned the prospective panel about their prior
knowledge of the case. §eg Porterfield, 746 S.W.Zd at 447. Most
of the potential jurors who were exposed to pretrial publicity
stated that they only vaguely recalled what they had heard or read.
ldg_ Moreover, the trial court admonished the jurors that they were

to consider only the evidence presented during trial and excused

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those who could not lay aside what they already knew. ldg After

a review of the record, this Court concludes that the Tennessee

court's determinations were not an unreasonable application of

clearly established federal law, nor were its factual findings

unreasonable. §§§ 28 U.S.C. § 2254(d). Accordingly, the Court

grants Respondent’s motion for summary judgment as to Claim 9.

K. Claim 10 - The Trial Court Violated The Sixth,

Eighth, And Fourteenth Amendments By Striking For
Cause Prospective Jurors.

Owens argues that the trial court's dismissal for cause of
prospective jurors, who indicated that they had reservations about
the death. penalty, was a violation of the Sixth, Eighth, and
Fourteenth Amendments. Specifically, Petitioner points to the
trial court's dismissal of Charlayne Pickett and Dorothy Newberry.
Respondent asserts that Petitioner has procedurally defaulted the
claim because she merely relied on the brief filed by Porterfield.
As previously noted, adoption of a co-party's brief by reference,
however, is permitted under Tennessee law. Furthermore, the
Tennessee Supreme Court, when analyzing the merits of the claim,
discussed it in the context of both Owens and Porterfield. §§e
Porterfield, 746 S.W.Zd at 447 (stating that “[e]xception was taken
by the defendants to the exclusion of a prospective juror,
Charlayne Pickett, for cause.”). Therefore, to the extent that the
claim was raised in the state courts by Porterfield’s brief, the

Court finds that Petitioner exhausted the claim, and is not

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procedurally barred from raising it.14

A prospective juror who is categorically unwilling to impose
a sentence of death in a capital case may be excused for cause.
See Lockhart v. McCree, 476 U.S. 162 (1986); see also Wainwright v.
Hit;, 469 U.S. 412, 424 (1985) (permitting dismissal of a
prospective juror where the juror’s views would “prevent or
substantially impair the performance of his duties as a juror in
accordance with his instructions and his oath.”). A prospective
juror who does not favor the death penalty but is willing to set
aside his personal views in accordance with the law may serve on a
capital jury. _§§ Lockhart, 476 U.S. at 176. If a juror is
unwilling or unable to properly and impartially apply the law to
the facts of the case during both the guilt and sentencing phases
of a capital trial, the prospective juror may be excluded. ld; at
175~77.

Pickett indicated that she would consider the defendants'
guilt or innocence based on the facts, but she would automatically
vote against the imposition of death in any case. §§e Addendum 4.
Like the Porterfield district court, this Court concludes that
based on the juror’s statement, the decision of the trial court to
strike Pickett for cause was not an unreasonable application of

federal law. Accordingly, the Court grants Respondent's motion for

 

14 Petitioner exhausted her claim as to Charlayne Pickett. However,

Petitioner's claims that other prospective jurors were improperly excluded based
on their views of the death penalty are defaulted because they were not presented

to the state courts and are now barred by the statute of limitations.

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summary judgment as to Claim lO.

L. Claim 11 - The Trial Court Violated The Sixth,
Eighth, And Fourteenth Amendments By Ehiling To
Strike For Cause Prospectiva Jurors Including Rhea
Benson And Richard Piersing.

Petitioner contends that the trial court erred by failing to
strike for cause prospective jurors who could not consider imposing
a sentence of life imprisonment upon a finding of guilt. A review
of the record indicates that Petitioner did not raise the issue in
the state courts. Moreover, she does not allege that cause or
prejudice exists to overcome the procedural default. Accordingly,
the Court grants Respondent’s motion for summary judgment as to

Claim ll.

M. Claim 12 ~ Petitioner's Death Sentence Violates The
Sixth, Eighth, And Fourteenth Amendments Because
Ona Of The Jdrors Falsely Testified During Voir
Dire That She Could Consider Imposing A Life
Sentence.

Petitioner asserts that Dora S. Jehl falsely testified during
voir dire that she could consider a sentence of life imprisonment
if Petitioner was convicted. A review of the record indicates that
Petitioner failed to exhaust this claim in the state court
proceedings and, thus, is now barred by Tennessee’s post-conviction
statute of limitations and waiver provisions from asserting this

claim.15 Accordingly, Petitioner has procedurally defaulted the

 

15 Petitioner admits in her Traverse that she failed to present evidence

to support Claim 12 during her post-conviction proceeding. See Owens v. Guida,
No. 00-2765, Traverse at 5.

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claim, and this Court may not consider its merits on habeas review.
The Court therefore grants Respondent's motion for summary judgment

as to Claim 12.

N. Claim 13 - The Trial Court Violated The Sixth,
Eighth, And Fourteenth Amendments By Allowing The
Introduction Of Porterfield's February 22, 1985
Statament.

Petitioner claims that the trial court allowed the
introduction of Porterfield's statement that he killed Mr. Owens
after being asked by Petitioner in violation of Bruton v. United
States, 391 U.S. 123 (1968), and its progenies. A review of the
record indicates, however, that Petitioner failed to raise a §rg;gg
issue in the state court proceedings.

Owens relies on her direct appeal brief, Porterfield’s direct

appeal brief, pre- and post-trial motions, and Porterfield, 746

 

S.W.2d 441 (Tenn. 1988), to establish that she exhausted this claim
in the state courts. The Court reviewed each of these in turn.
Her direct appeal brief did not raise a Bruton issue. Petitioner
did challenge the trial court's denial of her severance motion,
however, the challenge did not raise the issue of the admission of
Porterfield's statement nor did it mention Bruton. §e§ Addendum 7
at 6-8. Furthermore, the Tennessee Supreme Court, after discussing
Porterfield’s Bruton claim, stated that Petitioner did not raise a

Bruton issue. See Porterfield, 746 S.W.Zd at 446 (stating that

 

“[w]hile not raising a Bruton issue, Mrs. Owens insists she was

prejudiced by having to try her case with that of Mr. Porterfield

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as it prevented her from pleading guilty and taking a proffered
life sentence.”).

Petitioner's reliance on Porterfield's direct appeal brief
likewise fails to establish that the claim was exhausted in the
state courts. Porterfield did raise aa Bruton issue cmi direct
appeal, but it related solely to the introduction of Petitioner's
statement, not Porterfield's statement. §e§ Addendum 8 at 24-27.
Moreover, she did not adopt by reference this portion of
Porterfield’s direct appeal brief.

The Court finds that Petitioner failed to exhaust this claim
in the state court proceedings and is now barred by Tennessee's
post-conviction statute of limitations and waiver provisions from
asserting this claim. Therefore, Petitioner has procedurally
defaulted the claim, and this Court may not consider it on habeas
review. Accordingly, the Court grants Respondent’s motion for
summary judgment as to Claim 13.

O. Claim 14 - The Guilt Stage Instructions Violated
The Sixth, Eighth, And Fourteenth Amendments.

Owens maintains that various instructions given by the trial
court during the guilt stage were error. Specificallyr Petitioner
alleges that the trial court erred by l) equating the concept of
reasonable doubt with moral certainty; 2) instructing the jury that
the law presumes that witnesses testify truthfully; and 3)
instructing the jury that intent or design to kill may be conceived

and deliberately formed in an instant, and a person may be guilty

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of deliberate murder even though he was controlled by passion at
the time of the homicide. The Court will address each instruction
in kind.

At the guilt phase, the trial court instructed the jury that

Reasonable doubt is that doubt engendered by
an investigation of all the proof in the case
and an inability, after such investigation, to
let the mind rest easily upon the certainty of
guilt. Reasonable doubt does not mean a doubt
that may arise from possibility. Absolute
certainty of guilt is not demanded by the law
to convict of any criminal charge, but moral
certainty is required and this certainty is
required as to every proposition of proof
requisite to constitute the offense.

Addendum 5 at 27. On appeal from the denial of post-conviction
relief, the Tennessee Court of Criminal Appeals held that these
instructions did not fall below the requirements of the Due Process

Clause. See Owens, 13 S.W.3d at 765. In so holding, the court

 

noted that such instructions have been upheld on numerous
occasions. ldg Among the cases relied upon by the court was
Austin, 126 F.3d at 846-47, in which the Sixth Circuit ruled that
such an instruction did not lower the constitutional burden of
proof. The Austin Court determined that a reasonable doubt
instruction like that found in this case was “more like the

acceptable language in Victor [v. Nebraska, 511 U.S. 1 (1994)],

 

than the unacceptable language in Caqe [v. Louisiana, 498 U.S. 39
(1990)].” Austin, 126 F.3d at 847. The Austin Court noted that

“[t]he language of an ‘inability to let the mind rest easily' lends

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content to the phrase ‘moral certainty’ similar to the ‘abiding
conviction' language in Victor, increasing, if anything, the
prosecutor's burden of proof.” lg;_ As such, the Austin Court held
that the “moral certainty” reasonable doubt jury instruction did
not violate the United States Constitution.

The “moral certainty” jury instruction at issue in this case
is virtually identical to the one in Austin. This Court concludes,
therefore, that the decision of the state court was neither
contrary to nor an unreasonable application of clearly established
federal law as determined by the United States Supreme Court; nor
were the Tennessee court's factual determinations unreasonable.
§e§ 28 U.S.C. 2254(d). Accordingly, the Court grants Respondent’s
motion for summary judgment as to the “moral certainty” reasonable
doubt jury instruction issue found in Claim 14.

Owens also asserts that the trial court erred by instructing
the jury to presume that witnesses testify truthfully, that intent
or design to kill may be formed in an instant, and that a person
may deliberate even when controlled by passion. Petitioner failed
to raise these issues in the state courts.

As such, the Court finds that Petitioner did not exhaust these
claims in the state court proceedings. They are now barred by
Tennessee’s post-conviction statute of limitations and waiver
provisions. Therefore, Petitioner has procedurally defaulted the

claims, and this Court may not consider their merits on habeas

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review. Accordingly, the Court grants Respondent's motion for

summary judgment as to Claim 14.

P. Claim 15 - The Trial Court Violated The Sixth,
Eighth, And Fourteenth Amendments By Not Allowing
Petitioner To Present Evidence At The Sentencing
Hearing.

Petitioner asserts that the trial court erred when it refused
to allow her to present certain evidence in mitigation during the
sentencing hearing. The omitted evidence includes 1) that
Petitioner wanted to plead guilty in exchange for a sentence of
life but was not allowed to do so because the State's offer
required Porterfield also to plead guilty, which he refused to do;
2} the testimony of Dr. Max West concerning Petitioner's family
background; and 3) the testimony of Elizabeth Bratcher that
Petitioner loved her children. The Court will discuss each of
these claims individually.

The State offered Petitioner a sentence of life in return for
a plea of guilty provided that Porterfield also plead guilty.
During the sentencing phase, Petitioner attempted to present to the
jury her willingness to plead guilty as mitigation evidence. §§e
Addendum 4 at 1899. The trial court denied the request, idg at
1900r which was affirmed by the Tennessee Supreme Court on direct
appeal. See Porterfield, 746 S.W.2d at 449. The state supreme
court determined that pursuant to ngkgt;, 438 U.S. 586, and

Cozzolino, 584 S.W.2d 765, the trial court was not required to

admit this evidence during the sentencing phase. The state court

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concluded that Petitioner's “interest in accepting a plea
bargaining offer is not relevant to either the issue of punishment
or to any mitigating factor raised by Petitioner . . . .”
Porterfield, 746 S.W.Zd at 449.

ln Lockett, the United. States Supreme Court held that a
capital sentencer may not be precluded from considering any aspect
of the defendant's character, record, or circumstances of the
offense in mitigation. Lockett, 438 U.S. at 604. Courts mayr
however, “exclude, as irrelevant, evidence not bearing” on those
factors. ldg In Tennessee, “evidence is relevant to the
punishment only if it is relevant to a statutory aggravating
circumstance or to a mitigating factor raised by the defendant."
Porterfield, 746 S.W.Zd at 449 (citing Cozzolino, 584 S.W.2d at
768 ). The Court finds that the state court's ruling that evidence
concerning a plea bargain was irrelevant to any mitigating factor
raised by Petitioner, and thus properly excluded, does not
contravene Lockett. As such, the decision was neither contrary to
nor an unreasonable application of clearly established federal law
as determined by the United States Supreme Court. §ee 28 U.S.C. §
2254(d). The Court therefore grants Respondent's motion for
summary judgment as to Claim 15, 11 131-37, 145.

Owens' next claim of error concerning the sentencing phase
relates to the testimony of Dr. West, a psychiatrist who evaluated

Petitioner on one occasion. She asserts that the trial court erred

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when it sustained the prosecution's hearsay objection to defense
counsel's questioning of Dr. West concerning Petitioner's family
background. The record reveals, however, that she did not raise
this issue on direct appeal or during post-conviction proceedings.
Petitioner did raise the issue of Dr. West’s testimony in relation
to her claim of ineffective assistance of counsel. This, however,
did not provide the state courts an opportunity to examine
Petitioner's claim of a constitutional violation based on the trial
court's ruling on the hearsay objection to Dr. West's testimony.

Likewise, Owens did not pursue in the state courts a claim
that the trial court erred by sustaining a hearsay objection to the
testimony of Elizabeth Bratcher as to whether she had an impression
about Petitioner's feelings for her children. Additionally,
Petitioner did not use the trial court's ruling to support her
claim of ineffective assistance of counsel. Therefore, Petitioner
failed to give the state courts an opportunity to determine whether
a constitutional violation resulted from the exclusion of
Bratcher's testimony.

The Court finds that Petitioner failed to exhaust these claims
in the state court proceedings and is now barred by Tennessee's
post-conviction statute of limitations and waiver provisions from
asserting them. Therefore, she has procedurally defaulted the
claims, and this Court may not consider them on habeas review.

Accordingly, the Court grants Respondent's motion for summary

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judgment as to Claim 15.

Q. Claim 16 - The Prosecution 'Violated. The Sixth,
Eighth, And Fourteenth Amendments By Stating That
It Did Not Intend To Introduce The Morgue
Photographs And Later Introducing Them During The
Sentencing Stage.

During voir dire, the prosecution told the court and defense
counsel that they did not intend to introduce morgue photographs of
Mr. Owens. During the sentencing phase, however, the prosecution
introduced two such photographs over the objection of the defense
counsel. Petitioner asserts that the probative value of the
photographs was outweighed by their prejudicial effect and that
their introduction violated the prosecution's oral stipulation.

On direct appeal, Petitioner adopted this claim by reference
from Porterfield's brief as permitted by Rule 27 of the Tennessee
Rules of Appellate Procedure. Likewise, when ruling on the claim,

the Tennessee Supreme Court referenced the claim as that of

Petitioner's and Porterfield's. See Porterfield, 746 S.W.Zd at
449. Accordingly, Petitioner exhausted the claim in the state

courts, and this Court may review it.
When considering the issue of whether the photographs were
unduly prejudicial, the Tennessee Supreme Court stated that

[t]he photographs in question were relevant to
proving one of the statutory aggravated
circumstances - - that is, whether the murder
was especially heinous, atrocious or cruel in
that it involved torture or depravity of mind.
While undoubtedly prejudicial to the
defendants, in the sentencing stage of the
proceedings and in 'view of the aggravating

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circumstance alleged, they were highly

probative of the nature and extent of the

injuries inflicted upon Mr. Owens.
ld; at 450. The prosecution is prohibited from presenting evidence
intended to appeal purely to passion rather than reason. §ee
Gardner v. Florida, 430 U.S. 349, 358 (1977). As the Tennessee
Supreme Court determined, however, the photographs were highly
probative to an aggravating circumstance. Thus, this Court
concludes, as did the district court in Porterfield when
considering this issue, that the state court's decision is not
contrary to clearly established federal law, nor is it an
unreasonable finding of fact. §e§ Porterfield Order l at 52.

With respect to the prosecution's pretrial representation that

they did not intend to introduce the photographs, the state court
determined that the oral stipulation made by the prosecution
related to the guilt phase of the trial. Porterfield, 746 S.W.2d
at 450. The court concluded therefore that the prosecution's
statement did not foreclose the possibility that the photographs
would be used in the sentencing phase. lg; Petitioner has failed
to establish how the state court's decision was either contrary to
or an unreasonable application of federal law. _g§ Porterfield
Order l at 53 (holding that Porterfield failed to establish a
violation of federal law with respect to the prosecution's oral
stipulation). Accordingly, the Court grants Respondent's motion

for summary judgment as to Claim 16.

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R. Claim 17 - The Prosecution's Opening Statement And
Closing Argument At Sentencing Violated The Sixth,
Eighth, And Fourteenth Amendments.

Petitioner asserts that certain statements and arguments
offered by the prosecution during its opening and closing
statements were constitutionally prohibited. Specifically, during
its opening remarks, the prosecution allegedly implied that the
defense had the duty to prove mitigation. The prosecution also
purportedly asserted in its closing statement that executing
Petitioner would deter others from committing murder, despite the
fact that no evidence was presented during the trial to support
that proposition.

A review of the record indicates that Petitioner failed to
raise these claims in the state courts. Porterfield raised these
issues in the state court proceedings, however, Petitioner did not
adopt by reference this portion of Porterfield’s brief. §§§
Addendum '7 at 2 (Petitioner’s direct appeal brief adopting by
reference issues I, II, III, IV, VI, XV, XVII, and XIX from
Porterfield's direct appeal brief); see also Addendun1 8 at 3
(Porterfield's direct appeal brief asserting in issue XVI that
prosecutor's opening and closing statements contained improper
arguments). Petitioner maintains that ineffective assistance of
counsel establishes cause to overcome this default.

In order to utilize a claim of ineffective assistance of
counsel to establish cause, the claim of ineffective assistance

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itself must have been exhausted in the state courts. See Edwards,
529 U.S. at 452-53. In the state court proceedings, Petitioner's
claims of ineffective assistance of counsel included allegations

that counsel failed to: (1) adequately investigate for mitigation

evidence; (2) properly request expert services; (3) request
investigative assistance; (4) appropriately manage the trial
testimony of Dr. West; (5) request a continuance when the State

failed to comply with the notice provisions regarding aggravating
circumstances; (6) object to the murder for hire aggravating
circumstance, (i)(4), as double enhancement; (7) object to the
vicarious application of the heinous, atrocious, and cruel
aggravating factor; and (8) request a clarifying instruction
regarding intent to inflict serious physical abuse in the (i)(5)

aggravating circumstance. See Owens, 13 S.W.3d at 749.

 

Petitioner did not present the state courts with a claim of
ineffective assistance of counsel based on counsel's failure to
raise a claim of improper statements by the prosecution during the
opening and closing remarks. The Court finds therefore that
Petitioner has not established cause to overcome her default.
Accordingly, the claim is defaulted because Petitioner failed to
exhaust her state remedies and is now barred by the Tennessee post-
conviction statute from doing so. The Court grants Respondent's

motion for summary judgment as to Claim 17.

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S. Claim 18 - The Trial Court's Sentencing Stage
Instructions Violated The Sixth, Eighth, And
Fourteenth Amendments.

Petitioner asserts that the jury instructions given during the
sentencing phase resulted in numerous constitutional violations.
She maintains that the trial court's instructions were
unconstitutional because they 1) equated reasonable doubt with
moral certainty; 2) indicated that a life sentence requires a
unanimous verdict; 3) did not instruct that if the jury could not
unanimously agree on a sentence, then Petitioner would
automatically be sentenced to life; 4) could have been interpreted
as requiring the jury to unanimously find mitigating circumstances;
5) failed to instruct the jury that it had to conclude that
Petitioner intended to have the victim die a heinous, atrocious, or
cruel death in order to find the HAC aggravating circumstance; 6)
failed to instruct the jury that it could sentence Petitioner to
life imprisonment even if it sentenced Porterfield to death; and 7)
instructed the jury that it should not let sympathy affect its
judgment. Petitioner also contends that the trial court erred
because it did not instruct the jury that it was to presume that a
life sentence would result in a lifetime of imprisonment after a
prospective juror stated in group voir dire that a life sentence
does not result in such.

The sentencing instructions given by the trial court provided

that

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Reasonable doubt is that doubt engendered by
an investigation of all the proof in the case
and an inability, after such investigation, to
let the mind rest easily upon the certainty of
your verdict. Reasonable doubt does not mean
a doubt that may arise from possibility.
Absolute certainty is not demanded by the law
but moral certainty is required and this
certainty is required as to every proposition
of proof requisite to constitute the verdict.

Addendum 5 at 39. The trial court also instructed the jury that

If you unanimously determine that at least one
statutory aggravating circumstance or several
statutory aggravating circumstances have been
proven by the State, beyond a reasonable
doubt, and said circumstances are not
outweighed by any mitigating circumstance, the
sentence shall be death.

The jury shall state, in writing, the
statutory aggravating circumstance or
statutory aggravating circumstances so-found
and signify, in writing, that there were no
mitigating circumstances sufficiently
substantial to outweigh the statutory
aggravating circumstance or circumstances so-
found.

You will write your findings and verdict upon
the enclosed forms attached hereto and made a
part of this charge. Your verdict shall be as
follows:

(1) We, the jury, unanimously find the
following listed statutory aggravating
circumstance or circumstances: The jury will
then list the statutory aggravating
circumstance or circumstances so-found beyond
a reasonable doubt.

(2) We, the jury, unanimously find that there
are no mitigating circumstances sufficiently
substantial to outweigh the statutory
aggravating circumstance or circumstances so
listed above.

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(3) Therefore, we, the jury, unanimously find
that the punishment shall be death.

The verdict must be unanimous, and each juror
must sign their name beneath the verdict.

Id. A finding of life imprisonment was then explained in the jury
instructions:

If you unanimously determine that no statutory
aggravating circumstance has been proven by
the stater beyond a reasonable doubt; or if
the jury unanimously determined that a
statutory aggravating circumstance or
circumstances have been proved by the state,
beyond a reasonable doubt, but that the said
statutory aggravating circumstance or
circumstances are outweighed by one or more
mitigating circumstances, the sentence shall
be life imprisonment. You will write your
verdict upon the enclosed form attached hereto
and made a part of this charge.

The verdict should be as follows: We, the
jury, unanimously find that the punishment
shall be life imprisonment.

The verdict must be unanimous and signed by

each juror. The juror, in no case, should

have sympathy or prejudice or allow anything

but the law and evidence to have any influence

upon them in determining their verdict. They

should render their verdict with absolute

fairness and impartiality as they think truth

and justice dictate.
Id. at 42-44.

During post-conviction proceedings, Petitioner asserted that

the sentencing phase jury instructions were given in error because
they equated reasonable doubt to moral certainty. As discussed in

Claim 15, the Tennessee Court of Criminal Appeals held that the

“reasonable doubt” jury instruction given during the sentencing and

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guilt phases did not fall below the requirements of the Due Process

Clause. ee Owens, 13 S.W.3d at 765. In so holding, the Court of

 

Criminal Appeals noted that such instructions have been upheld on
numerous occasions. ldg Among the cases relied upon by the court
was Austin, 126 F.3d at 846-47, in which the Sixth Circuit ruled
that such a “reasonable doubt” instruction did not lower the
constitutional burden of proof.

The reasonable doubt jury instruction at issue in this case is
virtually identical to the one at issue in Austin. This Court
reiterates, therefore, that the decision of the Court of Criminal
Appeals was neither contrary to nor an unreasonable application of
clearly established federal law as determined by the United States
Supreme Court; nor were the Tennessee court's factual
determinations unreasonable. §ee 28 U.S.C. § 2254(d).
Accordingly, the Court grants Respondent's motion for summary
judgment as to Claim 18, concerning whether the reasonable doubt
jury instruction given during the sentencing stage resulted in a
constitutional violation.

Petitioner next asserts that the jury instructions are
unconstitutional because they indicated that a life sentence
requires a unanimous verdict, and the jury was not instructed as to
the effect of its inability to unanimously agree on a verdict.
Additionally, Petitioner submits that the sentencing phase

instructions could have been interpreted as requiring the jury to

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unanimously find mitigating circumstances. On post-conviction
appeal, the court of criminal appeals summarily rejected each of

these arguments. See Owens, 13 S.W.3d at 766. The court concluded

 

that “these [i]ssues have been repeatedly rejected by [the
Tennessee Supreme Court].” ldL

In Qg§, 161 F.3d 320 (6th Cir. 1998), the Sixth Circuit
considered the issues presented by Petitioner concerning the
requirements and perceived requirements of unanimity in jury
deliberations.16 In gge, the Court examined whether jury
instructions similar to those at issue were unconstitutional
because the jurors were not told that Coe would receive a life
sentence if they failed to reach a unanimous verdict.17 QQ§, 161
F.3d at 339. The court determined that the jury instructions were
constitutionally sound despite the fact that the jury was given
incomplete information. ida at 340. In so deciding, the court
reasoned that “it does not necessarily mislead a jury regarding its
role to avoid disclosing what will happen if the jury fails to
achieve unanimity.” ldL Furthermore, the court noted that “the
very object of the jury system is to secure unanimity by a

comparison of views, and by arguments among the jurors themselves.”

 

16 The Court recognizes that Coe was a pre-AEDPA case. The adoption of

the AEDPA, however, does not implicate the holdings made by the Coe court with
respect to the issues raised by Petitioner concerning unanimity in the sentencing
phase jury instructions.

w The sentencing phase jury instructions given in Coe are virtually

identical to those given to the jury in the instant action with the only
differences being stylistic. See Coe, 161 F.3d at 336-37.

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lgy (quoting Lowenfield v. Phelps, 484 U.S. 231 (1988)).
Accordingly, the failure of the trial court to instruct the jury
concerning its inability to reach a unanimous verdict did not
unconstitutionally “deceive the jury and infect the verdict with
unreliability.” ld;

Moreover, in Jones v. United States, 527 U.S. 373 (1999}r the
Supreme Court held that the Constitution does not require that a
jury in every capital case be instructed as to the consequences of
a breakdown in the deliberative process. ggnes, 527 U.S. at

382-83. The Jones court additionally noted that various federal

 

courts of appeals have rejected a constitutional unanimity
requirement or a requirement of a jury instruction as to the import
of a less than unanimous verdict. ldg at 382, n.6. This Court
concludes therefore that non-unanimity jury instructions are not
required in capital cases nor must the jury be instructed as to the
result should they fail to reach a unanimous verdict. The state
court's determination that the sentencing phase jury instructions
did not violate Petitioner's constitutional rights is neither
contrary to nor an unreasonable application of clearly established
federal law as determined by the United States Supreme Court.
Accordingly, the Court grants Respondent's motion for summary
judgment as to Petitioner's assertions in Clainl 18 that the
sentencing phase jury instructions which instructed the jury that

it must unanimously agree to a life sentence but did not explain to

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the jury the effect of a non-unanimous verdict are
unconstitutional.

Owens next contends that the sentencing phase instructions are
unconstitutional because the jury could have interpreted them as
requiring a unanimous finding as to mitigating circumstances. In
gge, the Sixth Circuit considered whether jury instructions similar

to those at issue in this case were unconstitutional. Coe, 161

 

F.3d at 337. The gge court determined that such instructions do
not violate Mills v. Marvland, 486 U.S. 367, 373-75 (1988), which
held that in reviewing the constitutionality of such instructions,
the proper inquiry is whether a reasonable jury might have
interpreted the instruction ira a way that is constitutionally

impermissible. Coe, 161 F.3d at 337. The Coe court reasoned that

 

the jury instructions “require[d] unanimity as to the results of
the weighing, but this [was] a far different matter than requiring
unanimity as to the presence of a mitigating factor.” ld; at 338
(emphasis in original). Accordingly, the court concluded that
nothing in the language of the jury instructions could reasonably
be taken to require unanimity as to the presence of a mitigating
factor. l;L_ Given the similarity in the sentencing phase
instructions in Qge and in this case, the Court concludes that the
state court's decision was not an unreasonable application of
federal law as determined by the United States Supreme Court.

Accordingly, the Court grants Respondent's motion for summary

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judgment of Claim 18 relating to the perceived unanimity
requirement in finding mitigating circumstances.

Petitioner next asserts that the sentencing stage instructions
were unconstitutional because they failed to instruct the jury that
it had to find that Petitioner intended to have the victim die a
heinous, atrocious, or cruel death in order to impose the HAC
aggravating circumstance.

Respondent states that Petitioner's only assertion of error as
to the HAC aggravator was that “trial counsel was constitutionally
ineffective under the Sixth Amendment to the United States
Constitution and Article I, § 9 of the Tennessee Constitution for
not challenging the HAC instructions as applied to Ms. Owens.” §§e
Addendum 14 at 68; Addendum 18 at 8. A review of the record,
however, indicates that Petitioner challenged the application of
the HAC aggravator to her case during post-conviction proceedings.
§e§ Addendum No. 14 at 63-69; Addendum 18 at 1-8.

When considering Petitioner's HAC aggravator claim, the
Tennessee Court of Criminal Appeals determined that Owens waived
the claim because she failed to raise it on direct appeal. §§e
Qgen§, 13 S.W.3d at 761. Nevertheless, the court proceeded to
address the issue of the vicarious application of the HAC
aggravator to Owens' case on the merits. lg; Petitioner asserts
therefore that the claim is not procedurally defaulted.

lt is unclear whether the appellate court denied Petitioner

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post-conviction relief on this claim based on waiver or based on
its analysis of the issue. For this reason, the Court finds that
it may consider her claim.

Petitioner in short argues that the Constitution prohibits
the imposition of capital punishment based on the conduct of an
accomplice, and the trial court should have therefore instructed
the jury that a finding of intent was required as to the HAC
aggravator. She maintains that because there is no proof to
establish that she directed Porterfield. to kill Mr. Owens by
bludgeoning him to death, Porterfield's acts cannot be attributed
to her.

The state court considered Petitioner's clainl in view of

Enmund v. Florida, 458 U.S. 782 (1982), and Tison v. Arizona, 481

 

U.S. 137 (1987). The state court initially noted that in Enmund,
the United States Supreme Court held that a non-participating
accomplice, in other words, a non-triggerman could not receive the
death penalty. Qgens, 13 S.W.3d at 760. The state court further
recognized Enmund's holding that “[t]he focus must be on [the
defendant's personal] culpability, not on that of those who
committed the robbery and shot the victims, for we insist on
‘individualized consideration as a constitutional requirement in
imposing the death sentence.’” lgg (quoting Enmund, 458 U.S. at
798 (internal citations omitted)).

The state court then turned to Tison in which the Supreme

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Court considered another felony murder case based upon accomplice

liability. The appellate court noted that Tison “refined the

 

Enmund intent rule and held that ‘major participation in the felony
committed, combined with reckless indifference to human life'
demonstrated culpability sufficient for execution.” Id. (quoting

Tison, 481 U.S. at 158). Thus, Tison made many defendants

 

convicted of felony murder, both triggermen and non-triggermen,
death eligible. Qgen§, 13 S.W.3d at 760.

The Tennessee court determined that, despite the holding in
li§gn, the issue of the vicarious application of aggravating
circumstances had not been addressed. lg; at 761; bg; sep State v.
Ii§gg, 129 Ariz. 526, 633 P.2d 335, 354 (1981), cert. denied, 459
U.S. 882 (1982)(death penalty affirmed to nontriggerman where
“heinous atrocious cruel” and pecuniary gain aggravating
circumstances applied vicariously). The appellate court found that
the “Enmund-Tison holding addresses only whether a non-triggerman

may be sentenced to death; it does not address whether the conduct

of the triggerman may be used to aggravate the sentence of the

 

non-triggerman.” Owens, 13 S.W.3d at 760. The court therefore
determined it was necessary to consider the issue given that the
United State Supreme Court had not addressed it. id4

In assessing the issue, the state court initially noted that
no Tennessee case had, previously decided “whether a convicted

murderer, who took no part in the killing itself and was unaware as

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to how it was to be accomplished, [could] be sentenced to death
based upon the ‘heinous, atrociousr and cruel' aggravating
circumstance.”18 lg; The court determined that the Tennessee
Supreme Court, although not directly ruling on the issue, had
implicitly upheld the vicarious application of the HAC aggravator.
ld; The court then concluded that a non-triggerman defendant can
be held vicariously liable for an aggravating circumstance

following an Enmund-Tison determination. 1d. at 762.19

 

In so doing, the state court noted the decisions of other

federal and state courts which had considered the issue. Id.; see,

 

e.g., White v. Wainwright, 809 F.2d 1478, 1485 (llth Cir. 1987)
(death penalty upheld based upon vicarious application of heinous,
atrocious cruel factor since defendant was armed and on scene as
active participant in robbery}; Ex parte Bankhead, 585 So. 2d 112,
125 (Ala. 1991) (“heinous atrocious cruel” aggravating circumstance
upheld based on manner of killing and not on defendant's actual
participation); Haney v. State, 603 So. 2d 368, 380-381, 385-387

{Ala. Crim. App. 1991) (appellant admitted paying co-defendant to

 

18 In other words, the question remained of “whether an aggravating

factor may be applied vicariously to a defendant if he was not the actor
responsible for the particular aggravating circumstance,” even though a defendant
may be death eligible following a determination of “major participation combined
with reckless indifference to human life” under Enmund-Tison. Owens, 13 S.W.3d
at 761.

19 As noted in Owens Order I, the Tennessee Supreme Court has now
adopted the holding of the court of criminal appeals in Owens, holding that the
HAC aggravating circumstance may be vicariously applied to a co-defendant who is
not responsible for the manner of death of the victim. §§e Owens Order l at 16-
17; State v. Robinson, 146 S.W.3d 469, 500 (Tenn. 2004).

 

 

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kill her husband and giving him instructions on how to approach her
home without being observed); Fox v. State, 779 P.2d 562, 578
(Okla. Crim. App. 1989)(death penalty supported by evidence that
defendant armed himself with shotgun and shells before robbing
grocery store with co-defendant where three people were killed}.

The state court then considered the facts of the case as
applied to Owens in making its Enmund-Tison determination. In
finding that Petitioner was death eligible under Enmund-Tison, the
court concluded that

[t]he appellant willingly and knowingly associated
herself with others for the purpose of effecting a
premeditated murder upon her husband resulting in his
heinous, atrocious, and cruel death. The proof gleaned
from her confession and testimony of eyewitnesses
demonstrated that she repeatedly gave several men large
sums of money to effectuate that criminal purpose. She
supplied these men with photographs of her husband, his
car, and their home, as well as a diagram of his parking
space at work, Moreover, she personally drove her co-
defendant by her home and her church ordering him to make
the crime appear to be a burglary/robbery. She gave her
co-defendant a key to her house, met with him the
afternoon of the murder, and went to church with her
husband that evening. The appellant refused to allow her
children to remain at church with their father to play
basketball that evening; she took them to her sister's
home and played games in order for the murder to occur.
Upon her later arrival at her home, despite obvious signs
of the crime, she allowed her children to enter into the
house to find their murdered father. This proof evinces
the appellant’s participation combined with reckless
indifference. Accordingly, the appellant is death
eligible under Enmund-Tison.

The court went on to state that

eligibility for capital punishment via vicarious

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liability, however, is not absolute; rather, it is
subject to statutory limitations. Tennessee has chosen
to constitutionally narrow the class of death eligible
defendants by statutorily enumerating a number of
specific aggravating circumstances and expressly
requiring the finding of at least one aggravating
circumstance beyond a reasonable doubt before the death
penalty can be imposed. §§§ Tenn. Code Ann. §
39-2-203(<;1) (1982): W M_i._§lM>_Ok_S, 840 S-W-Zd at
344. [footnote omitted]. In the present case, the State
must prove that “[t]he murder was especially heinous,
atrocious, or cruel in that it involved torture or
depravity of ndnd,” Tenn. Code Ann. § 39-2-203(i)(5)
(emphasis added), in order to establish the presence of
the aggravating circumstance at issue. The plain
language of this provision, “read. in context of the
entire statute, without any forced or subtle construction
which would extend or limit its meaning,” State v.
Cauthern, 967 S.W.Zd 726, 735 (Tenn. 1998); cert. denied,
525 U.S. 967, 119 S. Ct. 414, 142 L. Ed. 2d 336 (1998)
§ge also State v. Johnson, 970 S.W.Zd 500, 505 (Tenn.
Crim. App. 1996), perm. to appeal denied, (Tenn. 1997),
clearly focuses on the murder itself and not the
defendant's own actions or intent. Cf. State v. Hall,
976 S.W.2d 121, 134 (Tenn. 1998), cert. denied, 526 U.S.
1989, 119 S. Ct. 1501, 143 L. Ed.2d 654 (1999)(plain
language of (i)(8) aggravator, during defendant's escape
from lawful custody, adhered to in construing legislative
intent}. After examination of this issue, we conclude
that it was the legislature's intent that the (i)(5)
aggravator impute liability upon a defendant for conduct
for which he or she is criminally responsible. This
aggravator, by its plain language, clearly encompasses
consideration of the nature and circumstances of the
crime itself, which would permit such a vicarious
application. [footnote omitted] Cf. Ex parte Bankhead,
585 So. 2d at 125 (‘heinous atrocious cruel' aggravating
circumstance upheld based on the manner of killing and

not on defendant's actual participation). The emphasis
in the (i)(5) aggravator is on the manner of killing, not
on the defendant's actual participation. When the

defendant contracts for another to commit murder and that
murder is committed in a heinous, atrocious, and cruel
manner, we conclude that this aggravator may
appropriately be applied in imposing a sentence of death.
We hold that the factual application of the heinous,
atrocious, and cruel aggravating circumstance is
supported. by the proof in this case. This issue is

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without merit.
lgg at 762-63.

The state court’s ruling does not conflict with Enmund, 458
U.S. 782 or Ii§gn, 481 U.S. 137. Moreover, the court's
determination that the HAC aggravator may be applied vicariously if
supported by an Enmund-Tison determination is not an unreasonable
application of clearly established federal law, as determined by
the Supreme Court of the United States. The trial court therefore
was not required to instruct the jury that a finding of intent was
required. Accordingly, the Court grants Respondent's motion for
summary judgment as to this claim.

Petitioner next asserts that the trial court erred by failing
to instruct the jury that it could sentence her to life
imprisonment even if it sentenced Porterfield to death. A review
of the record indicates that Petitioner failed to raise this claim
in the state courts. Moreover, she did not adopt by reference any
portion of Porterfield's brief which raised this issue. Petitioner
has not established cause to overcome her default. Accordingly,
the claim is defaulted because Petitioner failed to exhaust her
state remedies and is now barred by the Tennessee post-conviction
statute from doing so. The Court therefore grants Respondent's
motion for summary judgment as to this claim.

Owens further contends that the trial court violated the

Constitution by instructing the jury that it should not let

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sympathy affect its judgment. Respondent asserts that this claim
was procedurally defaulted because it was not presented in the
state courts. Petitioner relies on Porterfield’s appellate brief
to establish that she exhausted this issue in the state courts.
She did adopt by reference parts of Porterfield’s brief, however,
Issue XVIII pertaining to the “sympathy” jury instruction was not
adopted by Petitioner. §§§ Addendum 8 at 36-37. Furthermore, the
Tennessee Supreme Court discussed the “sympathy” jury instruction
issue in reference to Porterfield’s claim. §ee Porterfield, 746
S.W.2d at 450. The Court concludes therefore that Petitioner
failed to exhaust this claim in the state court proceedings and is
now barred by Tennessee's post-conviction statute of limitations
and waiver provisions from asserting this claim. Petitioner has
procedurally defaulted this issue, and the Court may not consider
its merits on habeas review. Accordingly, the Court grants
Respondent’s motion for summary judgment as to the trial court's
“sympathy” jury instruction in claim 18.

Petitioner next insists that the trial court erred by failing
to instruct the jury that it was to presume that a life sentence
meant a life imprisonment after a prospective juror stated in group
voir dire that a life sentence did not result in such imprisonment.
Respondent maintains that Petitioner procedurally defaulted this
claim. Relying on her post-conviction briefs, Petitioner argues

that she exhausted this claim in the state courts. Specifically,

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she maintains that portions of these briefs, which assert that
“jurors hold Inisconceptions about the imposition of the death
penalty, including the mistaken belief that a person sentenced to
a life prison term does not spend the rest of her life in prison,”
resulted in the exhaustion of this claim. _ee Addendum 14 at 87;
Addendum 18 at 99.

The Court concludes that Petitioner did not exhaust this claim
in the state courts. The context in which this argument was
presented to the state courts indicates that Petitioner was
challenging her inability to present proof regarding parole
eligibility and challenging the constitutionality of the death
penalty in general based on certain juror misconceptions. §§e
Addendum 14 at 86-90; Addendum 18 at 98-100. Furthermore, when
addressing Petitioner's argument concerning parole eligibility for
a sentence of life imprisonment, the court of criminal appeals
discussed it in relationship to the constitutionality of the death
penalty. §eg Qgen§, 13 S.W.3d at 765-66. Petitioner did not
assert that the trial court erred by failing to instruct the jury
that it was to presume that a life sentence would result in a
lifetime of imprisonment. Accordingly, the Court finds that
Petitioner failed to exhaust this claim in the state courts and is
now barred by Tennessee's post-conviction statute of limitations
and waiver provisions from asserting it. She has procedurally

defaulted this claim, and the Court may not consider its merits on

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habeas review. The Court therefore grants Respondent’s motion for
summary judgment as to Petitioner's claim that the trial court
erred by failing to instruct the jury as to parole eligibility for
those sentenced to life.

T. Claim 20- The Tennessee Supreme Court Violated The
Sixth, Eighth, And Fourteenth Amendments By
Conducting' A Proportiona].ity Review With An
Incomplete Rule 12 Form.

Petitioner asserts that the Tennessee Supreme Court relied on
an incomplete Rule 12 report to conduct its proportionality review
in violation of the Constitution. Petitioner admits that she
failed to raise this issue during post-conviction proceedings. §e§
Traverse at 8. The Court concludes that Petitioner did not exhaust
this claim in the state courts and is now barred by Tennessee’s
post-conviction statute of limitations and waiver provisions from
asserting it. Therefore, Petitioner has procedurally defaulted
this contention, and the Court may not consider its merits on

habeas review. Accordingly, the Court grants Respondent's motion

for summary judgment as to Claim 20.

U. Claim 21- The Process That Resulted In Petitioner's Death
Sentenca 'Violated The Sixth, Eighth, And. Fourtaenth
Amendment.

Owens claims that the proportionality review conducted by the
Tennessee Supreme Court was inadequate. Petitioner admits that she
did not present evidence concerning the alleged inadequacy of the
proportionality review during post-conviction proceedings. The
Court concludes therefore that she failed to exhaust this claim in

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the state courts and is now barred by Tennessee’s post-conviction
statute of limitations and waiver provisions from asserting this
claim. Petitioner has procedurally defaulted this claim, and the
Court may not consider its merits on habeas review. Accordingly,
the Court grants Respondent's motion for summary judgment as to
Claim 21, l 178.

V. Claim 22- Petitioner's Death Sentence Violates The
Eighth And Fourteenth Amendments.

Petitioner asserts that her death sentence violates the Eighth
and Fourteenth Amendments because it is the product of
Porterfield's decision not to plead guilty, a process over which
Owens had no control. As noted supra, the State offered Petitioner
and Porterfield life sentences in return for pleas of guilty. The
State's offer, however, was contingent upon both defendants
pleading guilty. Respondent maintains that Petitioner has
procedurally defaulted this claim because the only issue that
Petitioner raised in the state courts concerning her inability to
plead guilty was related to the trial court's failure to grant a
severance motion.

To establish that she did not procedurally default the claim,
Petitioner relies on her direct appeal brief which provides in
pertinent part that

simple due process dictates that in a capital
case when a situation arises as in the instant
case, that a co-defendant be allowed to be

severed and accept a life sentence. If not,
such failure to sever allows a co-defendant to

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dictate whether or not another co-defendant

may be exposed to the ultimate punishment.

Such procedure, appellant respectfully

submits, violates due process of law.
Addendum 7 at 8 (emphasis added).20 Petitioner asserts that by
using the term “due process,” she raised a claim of a violation of
the Fourteenth Amendment. Furthermore, she argues that her usage
of the phrase “simple due process . . . in a capital case” implied
a claim. based on the Eighth and Fourteenth Amendments. In
conclusion, Petitioner contends that she asserted a violation of
the Eighth Amendment by arguing that the trial court erred in
failing to grant a severance resulting in her inability to accept
the State’s plea offer, which in turn, allowed Porterfield to
dictate whether she would be exposed to a sentence of death.

The Court must determine whether this excerpt of Petitioner's
direct appeal brief “fairly presented” to the state courts the
substance of Petitioner's Eighth and Fourteenth Amendment claims
related to Porterfield's decision to proceed to trial. A federal
clainl is not “fairly presented” simply because all the facts
necessary' to support it were presented to the state court or

because the constitutional claim appears self-evident. Haggins v.

Wardenl Fort Pillow State Farm,715 F.2d 1050, 1054 (6th Cir. 1983).

 

20 The issue,r as styled in Petitioner's direct appeal brief, was “THE

COURT A [sic] ERRED IN REE`USING TO SEVER THE APPELLANT FROM THE CO-DEFENDANT'S
CASE AND ALLOWING HER TO PLEAD GUILTY AND ACCEPT A LIFE SENTENCE.” Addendum 7
at 6. The brief continues to discuss how the proof elicited in Porterfield’s
case had a prejudicial “spill over” effect on Petitioner's case resulting in the
imposition of the death penalty. lgy at 7-8.

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Instead, the petitioner must have asserted both the factual and
legal basis for her claim to the state courts. Franklin v. Rose,
811 F.2d 322, 325 (6th Cir. 1987). A state defendant may be deemed
to have “fairly presented” a claim to the state courts, if she (1)
relied upon federal cases employing constitutional analysis; (2)
relied upon state cases employing federal constitutional analysis
in like fact situations; (3) phrased the claim in terms of
constitutional law or in terms sufficiently particular to allege a
denial of a specific constitutional right; or (4) alleged facts
well within the mainstream of constitutional law. lgg at 326.
“General allegations of the denial of rights to a ‘fair trial' and
‘due process' do not ‘fairly present' claims that specific
constitutional rights were violated.” McMeans v. Brigano, 228 F.3d
674, 681 (6th Cir. 2000) (citing Petrucelli v. Coombe,r 735 F.2d
684, 688-89 (2d Cir. 1984)).

Applying the Franklin criteria, the Court finds that
Petitioner did not sufficiently assert a claim of a violation of
the Eighth and Fourteenth Amendments based on the arbitrary
imposition of the death penalty on Petitioner in light of
Porterfield’s decision not to plead guilty. First, Petitioner did
not rely upon federal cases employing constitutional analysis of
the Eighth or Fourteenth Amendments in support of her claim. The
only decisions cited by Petitioner in support of her claim were

state law cases. ee Addendum 7 at 7 (citing Seaton v. State, 472

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S.W.Zd 905 (Tenn. Crim App. 1971); Arrinqton v. State, 548 S.W.2d
314 (Tenn. Crim. App. 1976)). Moreover, the state law cases listed
by Petitioner simply discuss the propriety of severance and of
granting a severance to force a plea. Furthermore, the state
cases do not employ federal constitutional analysis of the Eighth
or Fourteenth Amendments in like fact situations. Petitioner did
include in her brief the phrases “due process” and “simple due
process . . . in a. capital case” i11 the concluding paragraph
discussing Petitioner's claim of error. Although these are
constitutional law phrases, a general reference like “due process”
alone does not “fairly present” a claim that specific
constitutional rights were violated. Likewise, the brief excerpt
is not sufficiently particular to allege a denial of a specific
constitutional right. The discussion is couched in terms of the
trial court's failure to grant a severance, not in terms of the
arbitrariness of the death penalty based on Porterfield’s decision.

Finally, the claim does not allege facts well within the
mainstream of constitutional law. Courts have long recognized that
the Eighth Amendment requires that a sentence of death must not be
given arbitrarily or capriciously. §§§ Furman v. Georgia, 408 U.S.
238 (1972). A defendant's inability to make a plea based on a co-
defendant’s decision not to make such plea, however, cannot be said
to be facts found within the mainstream of Eighth Amendment's

requirement that a sentence of death not be arbitrary. This is

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especially true when, as here, the facts and argument centered
around the trial court's alleged errors in failing to sever
Petitioner's case from Porterfield's and in denying her request
that the State in effect be required to accept Petitioner's plea of
guilty.

The Court concludes therefore that Petitioner failed to
provide the legal basis for her claim to the state courts. As
such, the Court finds that Petitioner failed to exhaust this claim
in the state courts and is now barred by Tennessee’s post-
conviction statute of limitations and waiver provisions from
asserting this claim. Accordingly, Petitioner has procedurally
defaulted this issue, and the Court may not consider its merits on
habeas review.21 Respondent's motion for summary judgment of Claim
22 is granted.

W. Claim 23- The Tennessee Death Penalty Statute And
The Death Penalty Itself Violata The Eighth And
Fourteanth Amendments.

Petitioner advances three arguments in favor of her claims
that the Tennessee Death Penalty Statute and the death penalty
itself are unconstitutional. The Court will consider each argument

in turn. First, she asserts that the Tennessee Death Penalty

 

21 The Court notes that absent a finding that Petitioner procedurally

defaulted Claim 22, Petitioner's claim likely would not have prevailed because
a federal habeas court generally may not announce and grant retroactive
application to new rules of constitutional criminal procedure. E.g., Saffle v.
Parks, 494 U.S. 484 (1990}; Teague v. Lane, 489 U.S. 288 (1989). The State did
not raise the Teague argument, however, and this Court is not required to
consider it sua sponte. Lyons v. Stovall, 188 F.3d 327, 338-39 (6th Cir. 1999).

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Statute unconstitutionally precludes the sentencing jury from
knowing that a non-unanimous verdict results in a life sentence.
On post-conviction, the state court determined that the Tennessee

Supreme Court has routinely rejected this claim. See Owens, 13

 

S.W.3d at 766 (citing State v. Smith, 857 S.W.Zd 1 (Tenn. 1993)
(holding that the Constitution does not prohibit or require a trial
court to inform a capital sentencing jury of relevant and accurate
sentencing information)).

In Jones, 527 U.S. 373, the Supreme Court has held that the

 

Constitution does not require that a jury in every capital case be
instructed as to the consequences of a breakdown in the
deliberative process. ggne§, 527 U.S. at 382-83. Accordingly, the
state court's decision that the Tennessee Death Penalty Statute is
not unconstitutional because the jury is prevented from knowing
that aa non-unanimous verdict results 111 a sentence edf life is
neither contrary to nor an unreasonable application of federal law.

Petitioner next contends that the death penalty is
unconstitutional because 1) it cannot be applied with consistency,
given that the Constitution requires individualized sentencing,r and
2} the prosecution cannot establish that a sentence of death is the
least intrusive means of accomplishing a compelling State interest.

Petitioner failed to present these claims to the state courts.
She maintains that ineffective assistance of counsel provides cause

sufficient to excuse the procedural default. In order to utilize

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a claim of ineffective assistance of counsel to establish cause,
the claim of ineffective assistance itself must have been exhausted
in the state courts. §e§ Edwards, 529 U.S. at 452-53. Petitioner
did not present the state courts with. a clain\ of ineffective
assistance of counsel based on counsel's failure to raise and
perfect on appeal these arguments related to the constitutionality
of the death penalty. Petitioner therefore has not established
cause to overcome her failure to exhaust her state remedies. As
such, this Court may not review the procedurally defaulted claim.
The Court thereby grants Respondent's motion for summary judgment

of Claim 23.

X. Claim 24 - Petitioner Received Ineffective
Assistance Of Counsel In Violation Of The Sixth,
Eighth, And Fourteenth Amendments.

Petitioner asserts that she received ineffective assistance of
counsel based on counsel's failure to assert at trial or on appeal
that 1) sex discrimination occurred in the selection of the grand
jury foreperson, 2) under representation of African-Americans on
the panels from which prospective jurors were drawn resulted from
discrimination against African-Americans, 3) the prosecution used
its peremptory challenges in a discriminatory manner, 4) the
decisions of the trial court to strike for cause prospective juror
Dorothy A. Newberry and not to strike for cause Rhea E. Benson and
Richard F. Piersing were unconstitutional, and 5) the prosecution

improperly stated to the jury that it was the duty of the defense

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to present mitigating evidence and that the death penalty is a
deterrent. Respondent maintains that Petitioner procedurally
defaulted these claims.

None of Owens' allegations of ineffective assistance of
counsel include any of the grounds advanced by Petitioner in Claim
24 of her habeas petition. Accordingly, the Court finds that
Petitioner failed to exhaust this claim in the state courts and is
now barred by Tennessee’s post-conviction statute of limitations
and waiver provisions from asserting it. The claim is therefore
procedurally defaulted, and the Court may not consider its merits
on habeas review. The Court thereby grants Respondent’s motion for
summary judgment of Claim 24.

Y. Claim 25 - Petitioner's Conviction Violates The
Sixth, Eighth, And Fourteenth Amendments Should It
Be Determined That Porterfield Did Not Murder Mr.
Owens Or That Porterfield’s Conviction Is
Unconstitutional.

Petitioner asserts that if the district court concludes that
Porterfield did not kill Mr. Owens or that Porterfield’s conviction
is unconstitutional, an essential element of the crime for which
Petitioner was convicted would be negated. Petitioner failed to
exhaust this claim in the state courts and is now barred from
presenting the claim by Tennessee’s post-conviction statute of
limitations and waiver provisions. The contention is therefore
procedurally defaulted, and the Court may not consider its merits

on habeas review. The Court thereby grants Respondent’s motion for

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summary judgment of Claim 25.

Z. Claim 26 - The Cumulative Effect Of Constitutional
Error Is Not Harmless Should The Court Find More
Than One Constitutional Error Harmless.

Owens claims that, should this Court determine that there are
two or more Constitutional errors which are harmless, the
cumulative effect of such errors results in Constitutional error
warranting the grant of writ. Petitioner failed to assert a claim
of the cumulative effect of error in the state court proceedings.
Accordingly, Petitioner did not exhaust this claim in the state
courts and its consideration is now barred by Tennessee’s post-
conviction statute of limitations and waiver provisions. The claim
is therefore procedurally defaulted, and the Court may not consider
its merits on habeas review. The Court thereby grants Respondent’s
motion for summary judgment of Claim 26.

V. CONCLUSION

For the reasons stated herein, the Court hereby grants
Respondent’s motion for summary judgment as to Claims 1-18; 20; 21,
I 178; and 22-26. Respondent’s and Petitioner's motions for
summary judgment concerning Claims 19 and 21, 3 177, were

addressed in a prior order. See Owens Order l.

 

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IT IS SO ORDERED this ag day of June, 2005.

define

IzaNIEL BREEN
ED sTATEs DIs'rRIcT JUDGE

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UNITED 'TA'S,STE DSTRICT COURT -'W"STRN DRISTICTOF ENN

        

ESSEE

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Honorable .1. Breen
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